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                    IN THE UNITED STATES DISTRICT COURT
                      FOR SOUTH DAKOTA, PIERRE OFFICE
                            225 South Pierre Street, Pierre, SD 57501


BRENDA BURTON and HOLLIE
TELFORD                                       )
       Plaintiffs
             v.                              )        CIVIL ACTION NO. 3:16-cv-3033
                                                      RAL

UNITED STATE OF AMERICA;                      )                VERIFIED
ALAN B. JOHNSON; NENA                                       SUPPLEMENTAL
JAMES AND THOMAS DEERING IN                   )
THEIR INDIVIDUAL OFFICIAL                             OPPOSITION TO CENTURY-
CAPACITIES; GLOBAL E. LLC                    )        LINK'S MOTION AND BRIEF
aka PIONEER PARK; ANN CLAYTON                         FOR FILING INJUNCTION &
JUDY CIRRILLO, CENTURYLINK                   )        JOINED BY REMAINDER
O'KELLEY H. PEARSON, LAW OFFICE                       DEFENDANTS
HICKEY AND EVANS LLP, DONALD                 )
THATCHER, EVA TAFOYA, HUD and                         CROSS MOTION TO DECREE
DOES 1-10.                                    )       ALL PRIOR PRE-FILING
                                                      INJUNCTIONS VOID AB INTIO
       Defendants                            )        AND TO VACATE SAME AS
___________________________________                   AS REQUIRED BY LAW

                  COMES   NOW both Plaintiffs         Brenda Burton and   Hollie Telford to
SUPPLEMENT their OPPOSITION to CENTURYLINK's motion for filing injunction
against plaintiff TELFORD only.       Plaintiffs also OPPOSE the remainder defendant
parties joinders, that last joinder occurring on April 17, 2017. Finally, HOLLIE cross
moves for a declaratory decree adjudicating all prior pre-filing injunctions entered
against HOLLIE, void ab initio and to vacate same as required by law.
                                     ARGUMENT
  1.   Plaintiff Telford Is Not The Alter Ego Nor ALIAS Of Her Sister Marti
       Lundahl As Declared In MARTI's Separately Filed Declaration

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            On page 2 of Centurylink's motion for pre-filing order, CENTURYLINK has parroted
the same false claims parroted by a previous trial court                  in Idaho while TELFORD aka
LUNDAHL was falsely imprisoned under one of many of ELI LILLY's procured criminal
prosecutions, to wit:
           Ms. Lundahl frequently uses aliases. See Lundahl v. Zimmer, 296 F.3d 936,
           937 (10th Cir. 2002)(noting Ms. Lundahl filed a suit in the District of Utah
           under the name of Holli Telford); see also Lundahl v. Nar Inc., 434 F. Supp.2d
           855, 860 n.2 (D. Idaho May 24, 2006)(“Plaintiff has employed numerous
           aliases in her past litigation including, but not limited to, H.M. Telford, M.H.
           Telford, Marti Telford, Holli Lundahl, Marti Lundahl, and Holly Marti Telford”).

           As TELFORD has attested before and as she attests yet again herein by this verified
pleading and as Marti Lundahl attests in her separately filed declaration,                    TELFORD has
never used the aliases of H.M. Telford, (M. H. Telford is a typographical error for Ms. H.
Telford), Marti Telford, Marti Lundahl, or Holly Marti Telford.             In fact,    Hollie's sister Marti
Lundahl, who admittedly exists, has used the name of Marti Telford and Marti Lundahl as is
her permitted right given both names are on Marti's identification.               Accordingly to represent
that the foregoing aliases belong to plaintiff HOLLIE, is a continuing fraud upon this court..


      2.     The Claims Presented In This Litigation Have Never Been
             Previously Heard In A Full And Fair Hearing And On
             Their Merits Thus Lacking The Necessary Element To
             Granting A Serious Filing Injunction Against TELFORD
              A. Plaintiffs Claims Were Never Heard By Judge Johnson's Court
            One alleged basis for CENTURYLINK's baseless petition for an unconstitutionally
broad pre-filing order is because Plaintiff TELFORD aka LUNDAHL allegedly seeks to re-
litigate matters that were subject matter of prior proceedings before another court, namely
defendant Judge JOHNSON's federal court in Wyoming, and whom Plaintiffs have advanced
a Larson-Dugan claim against Judge JOHNSON in this court for total abdication of his judicial
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duties and for acting ultra vires the law in the Wyoming Court action.                           As shown in
footnote 1 infra, Judge JOHNSON never reached the federal or state questions presented in
the SAC before this court.
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            1. Plaintiffs filed a separate Opposition to Defendant Judge JOHNSON's motion to



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footnote 1 continued. . .
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dismiss and moved for cross summary judgment on their sole Larson-Dugan claim against
JOHNSON. JOHNSON has recently filed a REPLY and OPPOSITION to Plaintiff's summary
judgment motion and which completely fails to address the constitutional and statutory
violations Plaintiffs alleged and argued against JOHNSON. More particularly, Plaintiffs
asserted numerous ultra vires acts by JOHNSON, to wit:
            (a) Violation of the removal procedures provided by 28 USC 1441, et seq.
JOHNSON violated the rules attendant to the removal statute under 28 USC section 1441,
when JOHNSON directed that a state unlawful detainer action be removed into Plaintiff
TELFORD's originally filed FHA, ADA, section 504 and Ex Parte Young case pending before
JOHNSON's court as TELFORD vs. PIONEER PARK, et al. Case no. 2:15-cv-0188 ABJ ;
thereby causing an inherent and corrupt misalignment of the parties in TELFORD and her
sister's original civil rights case and ultimately barring Plaintiff TELFORD and her sister from
litigating any of their federal claims presented in the former Wyoming federal action.
                 The Government's response to this ultra vires act was whitewashing
JOHNSON's dishonest, immoral, and illegal acts. There simply exists no authority to
remove a state unlawful detainer action where TELFORD and her sister were defendants –
into a pending federal civil rights case where TELFORD and her sister were the Plaintiffs and
thereby cause a structural misalignment of the parties sufficient to render the entire process
void ab inito.
           (b) Structural Error In Violation of the Federal Rules of Civil Procedure.
To remedy the structural misalignment of the parties, Judge JOHNSON then orally directed
TELFORD and her sister to appear as the Cross Plaintiffs in their original filed civil rights
case;      however JOHNSON never changed his court docket to reflect such alignment
changes given the Rules of Civil Procedure did not authorize such procedural deception.
                  The Government's response to this procedural gaming that was directly
orchestrated by Judge JOHNSON was that TELFORD and her sister misaligned themselves
in the prior federal action because no order was formally of record by JOHNSON changing
TELFORD and her sister's statuses to Cross Plaintiffs in USDC-WY case no. 2:15-cv-0188
ABJ. Moreover as evidence that JOHNSON directly disavowed any authorization to allow
Plaintiffs to appear as Cross Plaintiffs in Plaintiffs originally filed civil rights action USDC-WY
case no. 2:15-cv-0188, the Government presented JOHNSON's Order denying as MOOT all
pending motions seeking to dispose of TELFORD and her sister's federal civil rights claims,
as exhibit “1” attached hereto. In that order, JOHNSON impliedly denied authorization for
TELFORD's changed party status when he stated that TELFORD's Declaratory Judgment
Petition and TELFORD's Verified [amended] Cross Complaint, were not properly before
JOHNSON's court. . . after JOHNSON entered his remand order. Judicial Notice should be
taken that the caption heading of JOHNSON's order at exhibit “1” attached places GLOBAL
E, LLC, d/b/a PIONEER PARK MHC as the plaintiff in the action and MARTi LUNDAHL and
HOLLIE TELFORD as the defendants in the action. Drawn in support of this OPPOSITION
is the most recent court docket in USDC-WY case no. 2:15-cv-0188 ABJ and attached hereto
as exhibit “2”. As shown on the face of this docket, GLOBAL E, LLC, d/b/a PIONEER PARK
MHC are and were defendants in this case, not plaintiffs. MARTI LUNDAHL and HOLLIE
TELFORD are and were plaintiffs in this case, not defendants. Accordingly, JOHNSON's
own self imposed docketing procedure caused the structural misalignment, not TELFORD or
her sister.


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footnote 1 continued. . .
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              (c) Violation of the remand procedures provided by 28 USC 1446, et seq
Referencing JOHNSON's order MOOTING all motions and attached hereto as exhibit “1”,
shows a clear indication that JOHNSON intended too and did remand not only the removed
state actions, but also purported to remand Plaintiff TELFORD's FHA, ADA, section 504, and
Ex Parte Young action originally filed in the federal court – to a Wyoming State Court. A
reading of 28 USC section 1446 provides no procedure for remanding an originally filed
federal case to a state court. In fact there is no federal rule or statute that permits for a
transfer of an originally filed federal case to a state court. JOHNSON simply fabricated this
procedure under the cloak of his office for the clear purpose of obstructing Plaintiff
TELFORD's right to have her federal claims in this case ever heard.
             (d) Violation of Procedural Due Process Rights Under the 5 th Amendment
To Hear and Try Plaintiff's Federal and Supplemented State Law Claims.
Referencing again exhibit “1” attached, Judge JOHNSON's Order denying as MOOT All
Pending motions, shows that JOHNSON declined to hear and try any matters related to
plaintiff TELFORD's and her sisters “Amended Complaint” also denominated on the court
docket attached hereto as exhibit “2” as a Verified Cross Complaint and which document set
forth Plaintiff TELFORD's amended FHA, ADA, section 504, and Ex Parte Young claims. An
order denying a document as MOOT is equivalent to an order dismissing the document or
pleading without prejudice. Accordingly, neither Plaintiff's federal or supplemented state law
claims were ever heard on their merits.
             (e) Violation of the Civil Rights Removal Statute 28 USC section 1443.
JOHNSON violated TELFORD's due process rights when rejecting removal under the federal
civil rights statute, 28 USC section 1443 because : (a) Plaintiff TELFORD's household was
bi-racial, (b) the fair housing act provided for equal protection rights under the housing laws
for race protected households, (c) the state of Wyoming would not allow federal defenses,
counterclaims or equitable defenses to be prosecuted in eviction proceedings, see Ferguson
v. Haygood, supra, 225 P.2d at 342 (“neither the court of the justice of the peace nor the
action of unlawful detainer is designed to try equitable defenses or counterclaims.") followed
in KNIGHT v. BONER, 459 P.2d 205 (Wyo. 1969), (d) the state judge DEERING would only
allow two jury instructions to be submitted to the eviction jury                  because the
GLOBAL/PIONEER defendants refused to execute a written lease contract with Plaintiffs
accommodating Plaintiffs' demands that GLOBAL/PIONEER waive their “no mobile home lot
sublease policy”, and, (e) the eviction action was prosecuted in retaliation to Plaintiff's
seeking equal protection of their housing rights. In support of their removal right under
section 1443, plaintiff TELFORD submitted case authority Bossen Terrace v. Ewing, 4 -91-
Civil-824, (USDC, MI 1992) and which asserted removal was proper under section 1443
because Ewing was afro-american, her landlord was trying to evict her on racial grounds and
the Michigan state court would not allow Ewing to present any federal defenses or
counterclaims into the state eviction action. These facts correlate directly with the facts in
TELFORD's case. Accordingly JOHNSON violated TELFORD's rights to have the federal
laws equally applied to TELFORD under the civil rights removal statute.
             (f) Violation of the Removal Statute based on the Diversity Clause.
JOHNSON violated the removal statute based on the Diversity Clause when he found that
TELFORD and her sister could not meet the minimum amount in controversy of $75,000 to
sustain a removal under the diversity clause because the eviction action only determined the


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footnote 1 continued. . .
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right of possession to the property and sought costs in the amount of $180.
                 JOHNSON clearly did not read TELFORD of her sister's objection papers. In
those papers, the TELFORD defendants argued that the amount in controversy was required
to be determined by the pecuniary result to either party in the suit. The TELFORD defendants
directly cited to the following supreme court authorities for this rule of law. Horton v. Liberty
Mut. Ins. Co., 367 U.S. 348, 351 (1961) citing Smith v. Adams, 130 U.S. 167, 175 (1889) (in
actions for recovery of possession of property, "the rule is that the jurisdictional test of the
amount in controversy takes in view the pecuniary result to either party in the suit."
Accord in Ronzio v. Denver R. G. W. R. Co., 116 F.2d 604, 606 (10th Cir. 1940); Sanchez v.
Monumental Life Ins. Co., 102 F.3d 398, 405 (9th Cir. 1996); Oklahoma Retail Grocers Ass'n
v. Wal-Mart Stores, Inc., 605 F.2d 1155, 1159-1160 (10th Cir. 1979); McCarty, 595 F.2d at 393-
395; Smith v. Washington, 593 F.2d 1097, 1100 & n.6 (D.C. Cir. 1978); Berman v.
Narragansett Racing Ass'n, 414 F.2d 311, 314 (1st Cir. 1969); Government Employees Ins.
Co., v. Lally, 327 F.2d 568, 569 (4th Cir. 1964); Ridder Bros. v. Blethen, 142 F.2d 395, 398-
399 (9th Cir. 1944); Elliot v. Empire Natural Gas Co., 4 F.2d 493 (8th Cir. 1925).
                   The TELFORD defendants further argued that even if their damages could
only be limited to their possession rights to GLOBAL's mobile home lot, and could not include
damages related to the TELFORD defendant's original tort claims improperly merged with the
removal petition, that the 10 th circuit in re Ronzio v. Denver R. G. W. R. Co., 116 F.2d 604,
606 (10th Cir. 1940) and other federal courts held that the amount of damages associated
with an unlawful detainer action was determined by (1) the value of the right of exclusive
possession of the land for the term of any lease applicable thereto (See Ezon v. Cornwall
Equities Ltd., 540 F. Supp. 885 (S.D. Tex. 1982), and the rent for the remainder of the lease
including any renewal terms, the cost of improvements made by Defendant, and costs that
would result from dispossession. See Poplar Avalon, LLC v. Sprintcom, Inc., 2016 U.S.
Dist. LEXIS 86497 (W.D. Tenn. July 5, 2016). "In a suit to enjoin threatened or continued
commission of certain acts, the amount or value involved is the value of the right which the
complainant seeks to protect from invasion, or of the object to be gained by the bill. Hunt v.
New York Cotton Exchange, 205 U.S. 322, 27 S. Ct. 529, 51 L. Ed. 821; W. & A. R. R. v. R.
R. Comm., 261 U.S. 264, 43 S. Ct. 252, 67 L. Ed. 645; McNeill v. Southern Ry. Co.,202 U.S.
543, 26 S. Ct. 722, 50 L. Ed. 1142; Bitterman v. Louisville & Nashville R. R. Co., 207 U.S.
205, 28 S. Ct. 91, 52 L. Ed. 171, 12 Ann. Cas. 693.
                   In consideration of these authorities, the TELFORD defendants presented
the following diversity damages relative to depriving the TELFORD defendants of the
possessory rights to the mobile home lot in question.
             (1) It is undisputed that the TELFORD defendants had a five year tenancy
lease with BURTON's trustee/landlord at the rate of $1750 per month, and that HUD was
funding that tenancy lease by way of a HAP contract. It is uncontested that the HAP contract
attached indirectly to GLOBAL/PIONEER's mobile home lot and that the GLOBAL/PIONEER
defendants interfered with the HAP contract by refusing to grant the TELFORD defendant's
accommodation request to sublease GLOBAL/PIONEER's mobile home lot under the same
conditions and financial terms offered to other members of the Park.                   Had the
GLOBAL/PIONEER defendants not interfered with the HAP contract attaching to their mobile
home lot in violation of the federal housing laws, the TELFORD defendants would have
secured rent benefits for the term of the 5 year lease in the amount of $105,000.


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            Accordingly, based on footnote one of this supplemental brief, Judge Johnson did
not decide any matters concerning the claims before this court.

             B. Judge Skavdahl's Dismissal Order Of Plaintiff's First Attempt
                   To Litigate Part of The Claims Herein Is Not Entitled To Any
                   Respect Because It Was The Product Of File Tampering
            CENTURYLINK next points to Plaintiff TELFORD's First and earlier efforts to have
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             (2) It is uncontested the pursuant to 24 CFR § 983.205(a), the TELFORD
defendants were entitled to increase the initial term of their HAP contract for another 10 years
to meet the initial 15 year term limit. The monetary value of this additional 10 year renewal
lease period was $210,000.
             (3) It is further uncontested that § 983.205(b) permitted the TELFORD defend-
ants to extend their HAP lease for another 15 years after the initial lease period of 15 years
expired. The value of that additional 15 year lease extension period was $315,000.
             (4)    It is further uncontested that the TELFORD defendants had utility contracts
attaching to the home which were committed to an additional two year period in the amount of
$1,980.
              (5) It is also uncontested that both TELFORD and her sister moved into the
Green River Property to be close to a cancer hospital. Since 2014, the state of Wyoming has
expended more than $1.5 million in medicaid services for the TELFORD household. Removal
from the Green River Property to another residence out of county that Plaintiffs will be able to
afford without the housing benefits usurped from the TELFORD household as a result of the
GLOBAL/PIONEER defendants corrupt conduct, likely in or about the parameter of Riverton
Wyoming area for example, will cost the TELFORD household at least $5,000 in travel costs
per year.     For the term of the initial 15 year lease period authorized by law for HAP
contracts, the TELFORD family could be taxed an additional $75,000 in travel costs that
would have been avoided had the GLOBAL/PIONEER defendants not deprived the
TELFORD household of living accommodations in GLOBAL's Park.
                Based on the foregoing, the TELFORD household claimed the total value of
$707,000 attaching to their lost possession rights on the GLOBAL/PIONEER mobile home
lot; well past the amount in controversy required under the diversity statute of $75,000.
                Judge JOHNSON considered none of TELFORD or her sister's arguments.
See Collins v. Morgan Stanley Dean Witter, 224 F.3d 496; 47 Fed. R. Serv. 3d (Callaghan)
399 (5th Cir. 2000) (No judge has the authority to ignore motions under the rules. The
district courts must carefully consider each motion on its merits, without begrudging
any party who wishes to avail himself of the opportunity to present such motions.).
Brown v. State, 816 P.2d 818 (Wyo. 08/23/1991) (The truthfulness of the facts cannot be
questioned by the judge. Lester v. Com., 250 Ky. 227,62 S.W.2d 469 (1933). This rule has
an extended history. Dickenson v. Parks, 104 Fla. 577, 140 So. 459 (1932). Orderville Irr.
Co. v. Glendale Irr. Co., 17 Utah 2d 282, 409 P.2d 616 (1965)); Ohlander v. Larson, 114
F.3d 1531 (10th Cir.1997) (It has been concluded that federal courts cannot simply refuse to
consider a party's pleading because that party has contempt orders against them. A district
court's discretion does not excuse a court's failure to exercise any discretion, nor does it save
an unpermitted exercise of discretion from reversal.); Alamance Indus., Inc. v. Filene's, 291
F.2d 142, 146-47 (1st Cir.), cert. denied, 368 U.S. 831 (1961).


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some of the claims herein stated, heard by the Wyoming federal court system and which
were illegally usurped by biased Judge Scott Skavdahl (the same judge subject of TELFORD
aka LUNDAHL's Certiorari Petition before the U.S. Supreme Court in 2016 and attached as
exhibit “3” to TELFORD's Opposition to Centurylink's motion for pre-filing injunction as DOC.
127-3).
          The procedural history as restated is, in early October of 2015, TELFORD and her
sister submitted an original federal complaint seeking relief for FHA, ADA, section 504 and
ex parte young claims, in conjunction with a Petition To Proceed Pro Se by TELFORD, to the
Wyoming federal court in Cheyenne. After a review of TELFORD's pre-flling petition, Judge
Johnson directed that the case be assigned a case no. TELFORD v. PIONEER PARK, 2:15;-
cv-178.   After ex parte communications with defendant state judge Nena James and
GLOBAL's attorney STULKEN, JOHNSON allowed an out of district judge Scott Skavdahl to
usurp jurisdiction over Plaintiff TELFORD's        civil rights case in violation of the random
selection policies. Upon receiving the case Judge Skavdahl proceeded to GRAFT Plaintiff
TELFORD's first Petition To Proceed Pro Se from the Court record in order to subsequently
summarily dismiss TELFORD and her sister's first submitted civil rights complaint – “for
TELFORD's alleged failure to submit a Petition To Proceed Pro Se'. This ultra vires and
criminal act is not entitled to any respect.   See Inquiry Concerning Johnson, 692 So. 2D 168
(Florida 1997) (Judge removed for directing clerk to backdate court records in order to fix
the end result of a case.);   In re Judge Lewie Hilton (TX 1991) (judge who had altered and
fabricated criminal docket sheets according to the designs of the judge was desciplined.); and
In the Matter of Esworthy, 568 N.E.2d 1195 (New York 1991) (Judge removed for modeling
the record to imply inculpitory admissions had been made by the accused.).
           After TELFORD complained to the U.S. office of administrative hearings about
Skavdahl's record tampering acts,       TELFORD's concealed Petition to Proceed Pro Se was
transferred back to JOHNSON's court who then s open a new case as USDC-WY, case no.
2:15-cv-0188 ABJ. JOHNSON then dismissed TELFORD and her sister's civil rights action
WITHOUT PREJUDICE based on a perceived error in TELFORD's Petition to Proceed Pro
Se. TELFORD immediately thereafter corrected the clerical error and submitted a corrected
Petition To Proceed Pro Se which, yet again, was now concealed from JOHNSON's docket ;
an event that would not be permitted to happen if Pro Se litigants were permitted to file
electronically in the Wyoming Federal Courts.


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            The concealing of Pro Se documents from the court record was not the only
unconstitutional practice engaged by the Wyoming federal courts. Plaintiff's also complained
about fact fixing for the corrupt purpose of fixing dispositions before the court. One of these
complaints of false fact fixing was incorporated into TELFORD aka LUNDAHL's uncontested
U.S. Supreme Court certiorari petition at page 4, [Doc. 127-3] , where LUNDAHL averred:
                     ELI LILLY would knowingly and willfully file false pleadings before
              various federal courts claiming that Petitioner had previously litigated more
              than 100, and later, 38 additional tort actions against ELI LILLY (see
              Appendices. A, B, pgs 9a, l0a, & 16a); had lost all of these lawsuits and
              therefore should be decreed an abusive litigant. (See appendices, J & K,
              pgs 31a-32a where prior a California federal judge having the 100+
              judgments before him, twice ruled that Petitioner was not a vexatious
              litigant because Petitioner had won all of the "100" contract
              reimbursement lawsuits brought between the dates of 1991 to sic
              [1996] . . . Wyoming Judge Scott Skavdahl's court finding that LUNDAHL's
              previously prejudicially dismissed [contract] claims in LUNDAHL's favor,
              were "virtually all meritless". . .
                    was a false finding because claims resulting in money judgments in
              favor of LUNDAHL on their merits largely in 1992, cannot more than 22
              years later, be determined as meritless or frivolous given HOLLIE won
              those cases “on their merits”.

               “Clear usurpation of power exists where there is no arguable basis on which
[the court] could have rested it's findings" quoting Lubben, 453 F.2d at 649.
               Hence, Judge Skavdahl engaged in fact fixing in order to fix a contempt judgment
against LUNDAHL. 2 See In re Krepela, 628 N.E.2d 262, 271 (Nebraska 2001))(Judges do
not have the right to alter or conjure out of thin air key “facts” to justify their ruling in a case,
following Richard A. Posner, Cardozo: A Study in Reputation, University of Chicago Press,
43); Arizona State Law Journal, Vol. 41, 2009. The purpose of judicial oversight is to
reassure the public that judicial misconduct is not tolerated or condoned (In the Matter of
Seaman, 627 A.2d 106, 121 (New Jersey 1993); The Texas Supreme Court has compared
"fact fixing" to acting without jurisdiction.                       See Hammett v. Zimmerman, 804 S.W.2d
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           2. Plaintiff's Certiorari Petition, DOC. 127-3, identifies Judge Skavdahl's ultra vires
acts committed in 2013- 2014 in re the state action illegally removed from a Wyoming state
court by ELI LILLY and her banking insurers in violation of the unanimous consent clause of
the removal statute and the federal bribery statute, 18 U.S.C. § 201, to federal Judge
Skavdahl's court. As uncontested by ELLI LILLY in the US Supreme Court case (see DOC.
127-4), Judge Skavdahl regularly engaged in ultra vires acts without sanctions by judges of
the 10th circuit court.


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663 (TX 1991); Philen v. Sorensen, 609 S.W.2d 656 (TX 1980)( "a trial court has no
authority to ignore the undisputed facts of a case as to do so is equivalent to divesting a party
of the right to a fair trial."); Moreover, "fact fixing" is construed by many courts to be a form
of record tampering.     In re Melograne, No.1 JD 99, Order (PA, 2000)(Judge violated civil
rights based on a conspiracy to fix cases before the statutory appeals division of the court of
common pleas.);      In the Matter of Esworthy, 568 N.E.2d 1195 (New York 1991) (Judge
removed for modeling the record to imply inculpitory admissions had been made by the
accused.).
             In addition to modeling the above stated false record before his court in order to
enter the 2014 contempt injunction against HOLLIE in re Order Imposing Filing Restrictions
on Holli Lundahl, Lundahl v. Eli Lilly & Company et al, 13-CV-00241, (D.Wyo. 2014), Judge
Skavdahl also had stock interests in ELI LILLY's banking malfeasance insurers in that action,
which he failed to address and thereafter properly recuse. See United States v. Ciavarella,
716 F.3d 705, 729-30 (3d Cir. 2013) (judges’ false financial disclosure filings supported
conviction on honest services mail fraud carried out through scheme of bribery and kickbacks
even though evidence did not establish specific bribe or kickback for the filing). In spite of this
financial interest, the 10th circuit would refuse to disqualify Judge Skadahl's participation in
the case under the mandamus statute, thus making any rule by the 10 th circuit equally void.
See Alexander v. Primerica Holdings, Inc., 10 F.3d 155, 167-68 (3d Cir. 1993) ("We are
authorized to order the reassignment of this case to another district court judge pursuant
either to the All Writs Act, 28 U.S.C. § 1651(a), or 28 U.S.C. § 2106.").       See too V. T. A.,
INC. V. AIRCO, INC., 597 F.2d 220, fn 8 (10th Cir. 1979) (If the underlying judgment is void,
the order based on it is also void. Austin v. Smith, 114 U.S.App.D.C. 97, 103, 312 F.2d 337,
343 (1962). If voidness is found, relief is not a discretionary matter; it is mandatory. See 11 C.
Wright A. Miller, supra note 7, at § 2862.). Finally see Neder v. United States, 119 S.Ct.
1827, 1833 (1999)(where party is denied a fair and impartial judge, the proceedings and
subsequent judgment are void.).        Judge Skavdahl's pecuniary interest in the contempt
proceedings rendered him an incompetent court and the resulting judgment void ab initio,
aside from the fact that Judge Skavdahl did not have subject matter jurisdiction from the
outset based on the unanimous consent violations.

      3.     Judge Skavdahl Illegally Invoked Jurisdiction Over Mart Lundahl's
             Insurance Collection Case In Re Lundahl v. American Bankers Ins.


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              Co. of Florida, USDC-WY, case no. 12-cv-280 SS, AND Engaged
              In False Fact Finding And Legal Conclusions In That Case;
              Nevertheless The ABIC Case Does Not Justify A Filing Injunction
              Against HOLLIE, A Different Party, In This Case
           CENTURYLINK has also cited to another case in which Judge Skavdahl usurped
jurisdiction, i.e.   Lundahl v. American Bankers Ins. Co. of Florida, 610 Fed.Appx. 734, 737
(10th Cir. 2015).     That case involved an insurance judgment originally awarded in Marti
Lundahl's favor by a Utah court of general jurisdiction. In the Utah action, Marti filed a
petition to garnish ABIC's insurance policy to satisfy the judgment.    ABIC objected to the
garnishment action asserting lack of policy coverage and also complained that Marti had
made specific references to ABIC in the insurance judgment. The state court denied ABIC's
objection regarding policy coverage but entered an amended judgment striking references to
ABIC's name. ABIC therefore lost the garnishment claim.        ABIC did not appeal the Utah
judgment trying the garnishment matter.         After MARTI won the matter concerning her
garnishment rights,     Marti registered the Utah Judgment into a state court in her domicile
state of Wyoming for collection against ABIC.
            ABIC subsequently removed the state action to the knowingly biased court of
Judge Skavdahl under the diversity clause via the premise that ABIC had the right to object
to the garnishment exceeding $75,000 – before a federal court.          Marti objected to the
removal based on three jurisdictional grounds, to wit:   (1) Diversity Jurisdiction was lacking
because her action was a direct collection action against the carrier; (2) The Rooker Feldman
Doctrine stripped the federal court of subject matter jurisdiction to retry ABIC's garnishment
objection given the final state court judgment deciding this right against ABIC and which ABIC
failed to appeal; and (3) because the Doctrine of res judicata barred ABIC from retrying any
garnishment objection. After removal, ABIC additionally moved to dismiss Marti's collection
action on venue grounds because the original judgment was entered in Utah.
             As Judge JOHNSON had done in the removed eviction action, Judge Skavdahl
also completely ignored MARTI's arguments going to the issue of remand. Judge Skavdahl
summarily ruled that the direct action rule did not apply to Marti's removed state action
(irrespective that ABIC was the only defendant named in the collection action) because
Marti's action on its face was a garnishment proceeding. Judge Skavdahl disregarded Marti's
other jurisdictional defenses of Rooker Feldman and res judicata, deliberately omitting these
defenses from his opinion denying remand. Later Judge Skavdahl dismissed the Insurance


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case without prejudice on venue grounds.

          After dismissing the insurance case for improper venue, Judge Skavdahl subsequently
scheduled a hearing for November 22, 2013 to consider removal sanctions against MARTI.
Judge Skavdahl                demanded that MARTI                        personally appear.                MARTI filed a motion for
telephonic appearance indicating that she had cancer and would be seeking treatment out of
state on November 22, 2013. Judge Skavdahl days before the hearing denied Marti's motion
for telephonic appearance.                    Marti did not receive notice of the denial order and accordingly
appeared by telephone on November 22, 2013.                                         Judge Skavdahl rejected Marti's phone
appearance and ordered MARTI to personally appear on December 23, 2013 or be arrested
for criminal contempt of court.                      Before MARTI appeared on December 23, 2013, MARTI
filed sealed pleadings attaching her medical records which supported her diagnoses of MDS
and invasive carcinoma. Some of the records showed that MARTI was at a medical facility in
Idaho receiving treatment on November 22, 2013. Marti appeared at the December 23, 2013
hearing and personally testified about her MDS and cancer diagnoses which required MARTI
to seek treatment with various specialists in the mountain states. Judge Skavdahl took the
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           3. In 2016, A Utah federal Court would reaffirm that Marti Lundahl's removal
petition was not based on either frivolous or sanctionable grounds in an unrelated case based
on the same legal premises cited by MARTI -- in re Dall v. Constantino, et al. , Case 2:15-cv-
00125-DAK (UT, 2016)) attached hereto as exhibit “10”. In that case, a default judgment
was entered against DALL for an alleged credit card debt. The creditor filed a garnishment
action against DALL and was successfully garnishing DALL's wages. Dall challenged the
garnishment action in a direct rule 60(b) attack on the default judgment. DALL also filed a
separate state action against the creditor for violations under the Fair Debt Collection
Practices Act. The creditor immediately removed the FDCPA case to the Utah federal court
and moved for dismissal on the basis of res judicata, the Rooker Feldman Doctrine and the
statute of limitations. The federal judge concluded that because the state court had already
decided the garnishment issue against DALL (irrespective that there was pending a rule 60(b)
attack) and because DALL's FDCPA claim was directly based on the alleged improper means
of obtaining the garnishment judgment, that the federal court lacked subject matter
jurisdiction to hear the federal claim under the ROOKER FELDMAN doctrine as directly
entwined with the garnishment judgment.
                 Marti argued a like defense in her collection action, to wit: that ABIC had
already tried her defense to Marti's garnishment rights in the Utah state court action and
never appealed the trial court's judgment denying ABIC's garnishment defense. Accordingly,
ABIC could not remove Marti's subsequently filed collection action in Wyoming to the
Wyoming federal court on a second attempt to attack Marti's garnishment rights – as to do so
would constitute a back handed appeal of the Utah Judgment denying ABIC's garnishment
defense (irrepective that ABIC attempted to do so under the diversity statute.).



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matter under submission and on or about December 26, 2013, yet again, engaged in false
fact finding to fix a contempt judgment against Marti when Judge Skavdahl collusively found
without any evidentiary support that MARTI had:

           “filed numerous frivolous pleadings and motions containing factual and legal
           misrepresentations, conducted the litigation in bad faith in an attempt to
           harass [the defendants] and to harass and perpetrate a fraud on the court….”

             ...     purportedly based on MARTI's claims that she suffered from various cancer
related diagnoses'; clearly a corrupt and ultra vires act given the state of Wyoming has paid
                                                                                                                    4
more than $1.5 million dollars in medicaid services for MARTI's cancer related diagnoses'.

             On appeal, two 10th Circuit judges in violation of the quorum clause and without
conducting any review of the sealed medical records sent to that court in support of Marti's
claim that she suffered from various cancer related diagnosis', issued a brief affirmance order
i.e. Lundahl v. American Bankers Ins. Co. of Florida, 610 Fed.Appx. 734, 737 (10th Cir. 2015)
invalidly regurgitating Judge Schavdahl's order that Marti had factually and legally
misrepresented her health issues . . . in an attempt to harass and perpetrate any fraud upon
Judge Skavdahl's court.               Aside from the fact that the 10 th Circuit failed to competently
address MARIT's appellate issues,                   the U.S. Supreme court in re NGUYEN V. UNITED
SnTATES (01-10873) 540 U.S. 935 (2003) had long held that violations of the quorum clause
under 28 U.S.C. § 46(b) will result in a void judgment. Attached hereto as exhibit “11” is this
authority. Here, only two article judges sat on Marti's appeal. MARTI petitioned for certiorari
review by the Supreme Court on this legal error. The U.S. Supreme Court summarily denied
Marti's certiorari petition on the basis that the high court was not intended to be a court on the
correction of legal error.            Nevertheless, efforts to advance the VOID trial and appellate

judgments in this action against Plaintiff TELFORD, are clearly ongoing ultra vires

acts.

            4.     Multiple Trial Court and Appellate Court Petitions Forged in
                   TELFORD aka LUNDAHL's Name Over The Past 27 Years
                   While TELFORD aka LUNDAHL Was Falsely Imprisoned
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              4.       See Marti's separately filed declaration attacking Judge Skavdahls' wrongful
actions.


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              In Various Federal And State Jails For a Period Of No Less
              Than 12 Consecutive Years At The Defendant Tortfeasors'
              Hands, Cannot Ground A Contempt Judgment Against
              TELFORD aka Lundahl In This Action
         CENTURYLINK cites to LUNDAHL's alleged abusive litigation history by quoting a
United States District Judge for the Southern District of Texas's uninformed finding of the
number of cases LUNDAHL has allegedly filed in various federal courts across the country by
the end of 2008, and while LUNDAHL was still falsely imprisoned in jail as a pre-trial detainee
on repetitive criminal prosecutions brought by ELI LILLY, to wit:

         A review of the U.S. Party and Case Index reveals that [Lundahl] has filed
         more than sixty pro se lawsuits in the federal courts of California, Utah,
         Nevada, Montana, Texas, Idaho, and over eighty appeals in the federal
         appellate courts of those states.
         Lundahl v. United States of America et al., 08-CV-3786, (S.D.Tex. Jan. 14, 2009).

         First and foremost, by this verified supplemental pleading, TELFORD aka LUNDAHL
adamantly denies that she has ever filed more than sixty pro se lawsuits in the district courts
above mentioned, or over eighty appeals in the federal appellate courts.      In fact TELFORD
denies having filed anywhere near the amounts attributed to her, pre – 2008; the date of the
Texas federal judge's challenged finding on numerosity.      Moreover if there are, in fact, this
many cases filed under the label of TELFORD aka LUNDAHL's name, then they are cases
which were forged in TELFORD aka LUNDAHL's name while TELFORD aka LUNDAHL was
falsely imprisoned in jail as a pre-trial detainee for more than 12 years in successive criminal
prosecutions procured by ELI LILLY against LUNDAHL and              AS ELI LILLY ADMITTED
BEFORE THE U.S. SUPREME COURT IN 2016. Refer back to Doc. # 127-4 PageID #:
1815 for ELI LILLY's wholesale admission to LUNDAHL's pleading facts in U.S. Supreme
Court case no. 15-1325. Refer back to TELFORD aka LUNDAHL's Certiorari Petition at Doc.
# 127-3 herein at PageID #: 1770, for ELI LILLY's admission that TELFORD had been in
jail as a pretrial detainee for a period of more than 12 years based on more than             20
successive felony prosecutions procured by ELI LILLY against LUNDAHL from the dates of
1991 to 2013.    See PageID #': 1770, PageID #: 1795, PageID #: 1796, and PageID #:
1814   for the page references where LUNDAHL had pleaded without contest by ELI LILLY,
the many instances ELI LILLY forged LUNDAHL's name to initiating petitions while LUNDAHL


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was in jail as a pre-trial detainee.
                 Accordingly, TELFORD aka LUNDAHL denies that this court or any other court
has established that she filed and litigated [emphasis added], more than 60 federal district
court actions and more than 80 federal appeals, abusively, and on their merits; as forged

petitions are prima facie VOID process. 5

                Moreover, CENTURYLINK has arbitrarily referenced these forged case's as a
basis for this court to enter a new pre-filing injunction against TELFORD, knowing that the
undefined cases referenced supra were void ab initio as largely premised upon forged
petitions in TELFORD aka LUNDAHL's name, in abtensia.                                                  The All Writs Act cannot be
enforced based upon VOID process. See Maness v. Meyers, 419 U.S. 449, 460-63 (1975)
(where contempt order breaches constitutional rights and is transparently invalid, the
collateral bar rule does not preclude the contemnor from attacking the validity of the
orders in collateral proceedings.). See also Venegas v. Skaggs, 867 F.2d 527, 529 (9th Cir.
1989) ("The Circuit Court was without authority to contempt based on underlying orders
which were absolutely void.).                        “[T]he constitution, by prohibiting an act, renders it void, if
done, otherwise; as the prohibition is nugatory. Thus, a warrant is a nullity where based on
prohibitory acts.” Anderson v. Dunn, 19 U.S. 204, 217 (1821). “A judgment rendered in
violation of due process is void in the rendering State and is not entitled to full faith and credit
elsewhere.”            World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980).                                                 “A void
judgment is from its inception a legal nullity.” Boch Oldsmobile, at 909 F.2d 657, 661 (1st Cir.
1990); Lops v. 140 F.3d 927, 941 n. 19 (11th Cir. 1998) (“something that is null is void and
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             5. It is well settled that a document which has been forged is void ab initio. See In
re Orosco, No. 87-1933 (9th Cir. 1988) (forged document is void ab inito). In addition, “any
document based on a forged document is likewise void.” See In Re Abboud, BAP No. 99-
033 (10th Cir. 1999) citing to Heiser v. Woodruff, 327 US 726 (1946) (judgment procured by
fraud is void ab initio.). See also Weber Meadow-View Corp. v. Wilde, 575 P.2d 1053, 1054
(Utah 1978) (where the record showed subterfuge, devious means, or collusion, any resulting
judgment is void and must be vacated.); In re KOUGASIAN v. TMSL, INC., 359 F.3d 1136 (9th
Cir. 2004) (Full Faith and Credit Clause does not give credit to a judgment obtained by way of
extrinsic fraud and fraud upon the court. Citing Barrow v. Hunton, 99 U.S. (9 Otto) 80 (1878)
("If the court "finds that fraud played a part in obtaining a judgment, it will deprive the
judgment of any enforcement effect."); McDaniel v. Traylor, 196 US 416, 423. In re Factor
VII, 159 F.3d 1016 (7th Cir. 1998) (if the appellants are correct that the consent decree is
''void,'' then the injunction, being ancillary to it, would fall with it and both are unappealable
because a void order imposes no obligations.).


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has no legal or binding force.”);                     Carter v. Fenner, at 136 F.3d 1000 (5th Cir. 1998)(“[a] void
judgment may not be enforced.) ; “Courts are constituted by authority, and they cannot go
beyond the power delegated to them. If they act beyond that authority, and certainly in
contravention of it, their judgments and orders are regarded as nullities. They are not
voidable, but simply void, and this even prior to reversal.” Valley v. Northern Fire & Marine Ins.
Co., 254 U.S. 348, 354 (1920).
             Here, because the many filings cited by the Texas Federal Judge were forged, they
                                                                                                                                         6
are void ab initio and cannot support any contempt judgment entered by this court.
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         6. The Texas federal judge did not bother to distinguish which cases TELFORD aka
LUNDAHL could have actually filed and litigated on their merits in the federal court system
while being falsely imprisoned for more than 12 years. TELFORD aka LUNDAHL asserts
that the only federal cases that she was able to attempt to litigate whatsoever, were two
cases in California, i.e case nos. 2:94-cv-045-GLT consolidated with 2:94-cv- 021 RJT.
While this consolidated case was appealed to the 9 th circuit court of appeals as appeal case
no. 98-56850, in 2002 the 9th circuit dismissed the appeal for failure of the trial court to enter
a final rule 58 judgment. Attached hereto as exhibit “3” is the docket in that appeal reflecting
that dismissal order on August 26, 2002 along with the attached order. After that appeal was
dismissed for lack of jurisdiction and remanded back to the district court, the district court
case was removed to the Utah bankruptcy court as adversary proceeding no. 03-P-02402
and withdrawn to the Utah District Court as a personal injury and RICO case as USDC-UT
case no. 2:04-cv-088 PC. See removal petition as exhibit “4” attached hereto. On September
1, 2004, this removed action was dismissed without prejudice by Judge Paul G. Casell. See
Docket attached hereto as exhibit “5”. TELFORD is unable to provide the actual dismissal
order because she received a computer virus on the computer memorializing this document
and the Utah federal courts have sealed TELFORD's aka LUNDAHL's bankruptcy records as
shown in exhibit “6” attached, thus preventing access to this document.
              As to the second tort action LUNDAHL filed against ELI LILLY, LUNDAHL filed an
FTCA and RICO action for assault, false imprisonment, malicious prosecution, and witness
tampering re a federal criminal prosecution in re USDC-CA, case no. 95-CR-114 AAH which
was adjudicated in LUNDAHL's favor by a jury acquittal in 1996. See relevant transcript
where the federal judge described the assault upon Lundahl's person as rediculous and later
as outrageous in exhibit “7” attached hereto. After having left LUNDAHL in a coma after the
assault, federal IRS officers counter charged LUNDAHL with counter assault for allegedly
biting the officers on their hands during the assault (bite wounds federal medical personnel
denied existed after examination of the two charging officers assault wounds under a
microscope and denying existence of any broken skin or bite marks. See exhibit “13”
attached.) It took a federal jury 6 minutes to acquit LUNDAHL of assault charges against her
two charging assailants. See exhibit “8” attached. Nevertheless, LUNDAHL sued the USA for
torts related to her assault and both the USA and ELI LILLY and her attorneys for Malicious
prosecution and witness tampering under RICO. TELFORD also sued various California
agencies for stealing her properties in the state of California during the assault trial.


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                Nevertheless, TELFORD aka LUNDAHL summarily attacks each of the VOID
contempt judgments cited by CENTURYLINK herein and entered against HOLLIE largely in
ex parte fashion and by judges in violation of the criminal conflict of interest statutes, 18 USC
       7
201.

           5.     All Of The Filing Injunctions Cited By CENTURYLINK
                  On Page 4 Of CENTURYLINK's Petition For A Filing
                  Injunction In This Action, Were The Product Of Either
                  Forgery OR Fraud By The Petitioning Defendants And
                  Hence Must Be Declared VOID; As Such They May Not
                  Support A Filing Injunction Against Telford In This Action
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pursuant to designated schemes orchestrated by ELI LILLY while TELFORD aka LUNDAHL
was under custody of the USA. This FTCA/RICO action was likewise removed to the Utah
Bankruptcy court as adversary proceeding number 03-P-2401. That action was then
withdrawn to the Utah district court as case no. 2:04-cv-089 PGC whereupon Judge Paul
Cassell dismissed that action without prejudice on September 2004.                See exhibit “9”
attached. See       Costello v. United States, 365 U.S. 265, 266 (1961)(dismissal without
prejudice does not bar the rebringing of another action on the same claims); Bourke v. Grey
Wolf Drilling Company, LP, S-12-0258 (Wyo. 07/31/2013) (Bourke may rebring his claims in
the correct county upon dismissal without prejudice by the trial court -- under the Wyoming
Savings Statute.). After appellate review sustaining the dismissal without prejudice,
TELFORD timely resued ELI LILLY in the Wyoming state court on her “saved claims” --
adding additional tort claims in the interim. That case has been presently stayed for political
reasons. Hence TELFORD aka LUNDHAL's claims against ELI LILLy have never been heard
on their merits because of the many ultra vires control tactics utilized by various judges.
                  Rather than suing the private party co-defendants for encouraging officers of
the USA to participate in ELI LILLY's criminal schemes, the USA has consistently and illicitly
used the fist of the government to deny TELFORD aka LUNDAHL any judicial relief.
            7.     See United States v. McConney, 728 F.2d 1195, 1201 (9th Cir.) (en banc),
cert. denied, 469 U.S. 824, 105 S. Ct. 101, 83 L. Ed. 2d 46 (1984)(a judgment is void if a
court plainly misinterprets the scope of a statutory grant of jurisdiction such that there
is a blatant usurpation of power. See 7 J. Moore, Moore's Federal Practice P60.25[2], at
60-226 to 60-228 (1983)). Gschwind, 232 F.3d at 1346 (There is a plain usurpation of power,
when a court wrongfully extends its jurisdiction beyond the scope of its authority." Kansas
City Southern, Ry. Co. v. Great Lakes Carbon Corp., 624 F.2d 822, 825 (8th Cir. 1980)
(citations omitted); accord Nemaizer v. Baker, 793 F.2d 58, 65 (2d Cir. 1986) (observing that
collateral attack is permitted under Rule 60(b)(4) where there is "a clear usurpation of power
by a district court, and not an error of law in determining jurisdiction. Clear usurpation of
power exists where there is "no arguable basis on which [the court] could have rested
it's findings" quoting Lubben, 453 F.2d at 649); See too Stutsman County v. Wallace, 12 S.
Ct. 227, 142 U.S. 293 (U.S. 01/04/1892) (no discretion not to vacate a void judgment.));
Marshall v. Board of Ed., Bergenfield, N.J., 575 F.2d 417, 422 (3rd Cir.1978); Lubben v.
Selective Service System Local Board No. 27, 453 F.2d 645, 649-50 (1st Cir.1972); J. Moore


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               As the Tenth Circuit long ago held in V. T. A., INC. V. AIRCO, INC., 597 F.2d 220, fn
8 (10th Cir. 1979) :
               If the underlying judgment is void, the order based on it is also void. Austin
               v. Smith, 114 U.S.App.D.C. 97, 103, 312 F.2d 337, 343 (1962). If voidness is
               found, relief is not a discretionary matter; it is mandatory. See 11 C.
               Wright A. Miller, supra note 7, at § 2862.).

               CENTURYLINK has listed a number of pre-filings orders entered against Hollie
Lundahl aka Hollie Telford (largely on an ex parte basis) as a basis for jusitfying entry of
another BROAD pre-filing injunction against HOLLIE in this instant action. As summarily
decribed herein; as conceded too by ELI LILLY before the US Supreme Court in Doc. Nos
127-3 and 127-4; and as more fully summarily described in the subsections of this pleading,
infra,      the above referenced filing injunctions were either the product of petit:ons forged in
Hollie Lundahl aka Hollie Teflrod's name while HOLLIE was imprisoned in various state and
federal jails consecutively over the past 26 years, the injunctions were the product of fraud
upon the court by the petitioning parties, and/or the petitions were obtained by judges that
held financial interests in the petitioning parties.                                 Specifically, the contempt injunction(s)
entered in:
                  (i) United States Court of Appeal for the Ninth Circuit: In re
             Lundahl, No. 97-80258 (9th Cir. Jul. 17, 1997), Was VOID AB INITIO:
                    This pre-filing order was entered as a result of more than 22 forged
            Notices of Appeals filed in TELFORD aka LUNDAHL's name in re Lundahl
            v. ELI LILLY, et al. USDC-Cal. Case no. 94-cv-021 RJT and addressing
            non-final orders -- while HOLLIE was in a coma and paralyzed in
            federal jail from an assault orchestrated by ELI LILLY and as identified
            on the intake record with the Los Angeles federal detention center
            attached hereto as exhibit “12”. Orders based on forged petitons are void
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& J. Lucas, supra, p 60.25 at 227. “A Plaintiff suffers a cognizable harm when the
government acts unconstitutionally. See Hobby Lobby Stores, Inc. v. Sebelius, 723
F.3d 1114, 1145 (10th Cir. 2013) (en banc). “[I]t is always in the public interest to prevent the
violation of a party’s constitutional rights.” Awad v. Ziriax, 670 F.3d 1111, 1132 (10th Cir. 2012).
“It is clear that the public interest suffers irreparable injury whenever an enactment of its
people . . . is enjoined or not enforced.” Coalition for Econ. Equity v. Wilson, 122 F.3d 718,
719 (9th Cir. 1997) (citing New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351
(1977) (Rehnquist, J., in chambers) (“It also seems to me that any time an order violates the
constitution and statutes, the public suffers a form of irreparable injury.”)); Espirita
Beneficiente Uniao De Vegetal v. Ashcroft, 314 F.3d 463, 467 (10th Cir. 2002) (granting a
vacation of an injunction because the public interest suffers irreparable harm when
constitutional violations are raised.).


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     ab initio. See In re Orosco, No. 87-1933 (9th Cir. 1988) (forged document
     is void ab inito). “Any document based on a forged document is likewise
     void.” In Re Abboud, BAP No. 99- 033 (10th Cir. 1999) citing to Heiser v.
     Woodruff, 327 US 726 (1946); Weber Meadow-View Corp. v. Wilde, 575
     P.2d 1053, 1054 (Utah 1978) (where the record showed subterfuge,
     devious means, or collusion which prevented a party from fairly appearing
     before the court, any resulting judgment is void and must be vacated.); In re
     KOUGASIAN v. TMSL, INC., 359 F.3d 1136 (9th Cir. 2004); "If the court
     "finds that fraud played a part in obtaining a judgment, it will deprive the
     judgment of any enforcement effect."          McDaniel v. Traylor, 196 US 416,
     423.
             In order for an appellate court to acquire article III powers, a final
     judgment raised by a timely notice of appeal, or a timely injunction appeal
     must be filed with the appellate court. See Gladstone, Realtors v. Village
     of Bellwood. 441 U.S. 91, 99, 99 S.Ct. 1601, 1608, 60 L.Ed.2d 66 (1979).
     Absent any final or special judgment, the appellate court lacks subject
     matter jurisdiction. See United States v. United Mine Workers of Am., 330
     U.S. 258, 295 (1947) (If no jurisdiction existed, ''then the proceedings
     were void and the civil contempt citation must be reversed 'in its
     entirety."); Magness v. Russian Federation,247 F.3d 609,619 n. 19 (5th
     Cir.), cert. denied, 122 S.Ct. 209 (2001); Followed in Rieser at 1224 (Where
     a court lacks jurisdiction, any judgment thereafter entered is void.).
             Here, each of the 22 notice of appeals were directed at non-final
     orders entered by the trial court while HOLLIE was in a coma and
     paralyzed in federal jail in re USA v. Hollie Lundahl, USDC-CAL. Case no.
     95-CR-0114 AAH. Every single appeal was dismissed for lack of subject
     matter jurisdiction by clerks of the 9 th Circuit court shortly after each forged
     Notice of Appeal was filed -- unbeknownst to HOLLIE.
            At the time the Injunction action was sua sponte entertained by 9 th
     circuit clerk Susan Gelmis, there was no appeal pending in the 9 th circuit
     involving Hollie. Ms. Gelmis unilaterally opened an appeal under 28 USC
     section 1651, the All Writs Act, to perform the contempt action. Treatises
     have long held that Federal Law for the purposes of § 1331, does not
     include the All Writs Act, the Parental Kidnapping Prevention Act, the
     local laws of the District of Columbia,. or the Federal Rules of Civil or
     Appellate Procedure. Citing 130 Wright & Miller § 3563, pp. 22022.; 130
     Wright & Miller § 3563, pp. 217-18,231-32; and 15 Moore's Federal
     Practice 103.32['1][6].). The unilaterally opened appeal was VOID from the
     outset lacking federal authority for such action.
              In addition, a single clerk Ms Gelmis, entered the contempt
     injunction against HOLLIE without service of notice and in violation of the
     Quorum clause, Title 28 § 46 providing in part :
                (b) In each circuit the court may authorize the hearing and
                    determination of cases and controversies by separate
                    panels, each consisting of three judges.
          In Nguyen v. United States, 539 U.S. 69 (2003) : the Supreme Court
     confirmed that the federal quorum statute, 28 U. S. C. § 46(d), authorized


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     courts of appeals to sit in panels which require the inclusion of at least
     three article III judges in the first instance. The failure to provide this panel
     of authorized judges rendered the judgment a nullity. United States v.
     American-Foreign S. S. Corp., 363 U. S. 685.
           Here, Ms. Gelmis was not a Judge, much less an Article III Judge,
     and did not have the jurisdiction to enter a serious contempt injunction
     against HOLLIE under 28 U. S. C. § 46(d). “A tribunal whom rules against
     an express statutory mandate, makes a void order", US v. Van Grinffin,
     874 F.2d 634 (9th Cir. 1989), and, proceeds in an unconstitutional manner;
     the effect of which is to destroy the jurisdiction of the court ...." Thomas v.
     Justice Court of Washakie County, 538 P.2d 42, 44 (Wyo. 1975).
            For all of the foregoing reasons, the 9 th Circuit Contempt Injunction
     was vid ab initio.

           (ii) United States Court of Appeals for theTenth Circuit: Johnson
     v. Stock, 2005 WL 1349963 (10th Cir. 2005), was VOID AB INITIO:
                This pre-filing injunction was entered regarding trial case no. 2:97-
     CV-951 TC, Lundahl v. USA et al.
                In late 1998, Judge Tena Campbell usurped jurisdiction over this
     action irrespective that she owned substantial stock interests in the
     defendant's companies appearing before her bar. Immediately thereafter,
     Plaintiff TELFORD filed a mandamus petition with the 10 th Circuit court of
     appeals to remove Judge Tena Campbell based on her financial interests.
     The 10th Circuit rejected TELFORD aka LUNDAHL's Mandamus petition
     holding that HOLLIE could wait until conclusion of the action and then
     raise a judicial bias claim upon final judgment.
               Immediately after the 10 th circuit unlawfully refused to disqualify
     Judge Tena Campbell, Judge Campbell unconstitutionally dismissed
     HOLLIE's claims against ELI LILLY with prejudice based on venue
     grounds-- irrespective that ELI LILLY had a corporate office in Utah. See
     exhibit “14” attached. In March of 1999, Judge Campbell unconstitutionally
     dismissed HOLLIE's FTCA claim against the USA based on the false claim
     that HOLLIE had failed to submit an administrative claim to the Government
     -- when the undisputed evidence before the court showed that (1) HOLLIE
     had testified during her criminal trial that she had filed an FTCA claim with
     the US Attorneys office [see exhibit “15” attached], (2) the US prosecutor
     conceded during the trial that HOLLIE had filed an FTCA claim with his
     office, and (3) Holli's administrative FTCA claim with her attached medical
     records referencing the assault matter– were submitted to the assault jury
     as defense exhibit no. 12. [See exhibit “16” attached for the defendants
     exhibit list in re the USA v. Holli Lundahl, USDC-CAL., case no. 2:95-CR-
     114 AAH].
             In July of 1999, Judge Campbell indefinitely stayed Hollie's FTCA /
     RICO action to game plan further obstruction of the action. See exhibit
     “17” attached. This action remained stayed even after HOLLIE filed chapter
     13 bankruptcy in January 2003 as case no. 03-21660. At the time of
     HOLLIE's 2003 bankruptcy, Judge Campbell maintained a stock interest in


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     the defendant's companies in USDC-UT case no. 2:97-cv-951 TC of
     approximately       $750,000.00.     See exhibit “18” attached for          Tena
     Campbell's 2003 financial disclosure report with astericks in the left column
     for those companies that were represented as defendants (and constituent
     entities of the defendants) in USDC-UT case no. 2:97-cv-951 TC.
            HOLLIE immediately removed that stayed action to the Bankruptcy
     court as adversary proceeding no. 03-P-2401 under the bankruptcy
     removal statute which permitted removal by the debtor regardless of
     whether debtor was a plaintiff or defendant and for purposes of merging
     the suit into HOLLIE's chapter 13 bankruptcy estate.           HOLLIE's FTCA/
     RICO action was then withdrawn to another district court as required under
     the Bankruptcy code and assigned case no. 2:04-cv-89 PGC. See exhibit
     “9” attached for the court docket. On September 22, 2004, to address
     Judge Tena Campbell's interlocutory rulings which clearly violated due
     process, Judge Paul Cassell dismissed the entire action without prejudice
     (refer back to ex. “9” attached reflecting this dismissal) – leaving HOLLIE
     the right to re-bring her saved claims under Utah's savings statute. See In
     re Piper Aircraft Distrib. Sys. Antitrust Litig., 551 F.2d 213, 219 (8th Cir.
     1977)(“A dismissal without prejudice carries down with it previous
     proceedings and orders in the action, and all pleadings, both of
     plaintiff and defendant, and all issues, with respect to plaintiff's
     claim."' Id. (quoting 27 C.J.S. Dismissal and Nonsuit § 39 (1959)). …".
     Accord in DE LEON v. MARCOS, No. 10–1578. (10th Cir. 2011).
            AS A MATTER OF LAW, the U.S. court of appeals for the 10 th
     Circuit, lost appellate jurisdiction over any matters concerning USDC-
     UT case no. 2:97-cv-951 AFTER HOLLIE removed that action to the
     bankruptcy court for further prosecution. See Granny Goose Food Inc.
     v. Teamsters, 415 US 423, 435-438 (1974) (after removal to a federal court,
     a non-bankruptcy court loses jurisdiction over the subject matter;
     furthermore after removal, a judgment entered by a non-bankruptcy court
     may be set aside, modified or otherwise corrected by a federal court on
     equitable grounds. After removal, the federal court sitting in it's bankruptcy
     jurisdiction has exclusive jurisdiction over the removed claims citing Gen.
     Lnv. Co. v. Lake Shore Ry., 260 US 261, 267 (1922) (after removal, the
     power to alter, correct, modify or otherwise dispose of the case passes to
     the federal court.); Accord in ln re Birting Fisheries, Inc., 300 B R. 489 (9th
     Cir. B.A.P. 2003); ln re General Carriers Corp 258 B.R. 181 (9 th Cir. BA P
     2011) (Only federal court sitting in its bankruptcy jurisdiction has jurisdiction
     to decide matters concerning the removed case.)
             Subsequent to the dismissal of the removed action without prejudice,
     ELI LILLY then procured several more criminal prosecutions against
     HOLLIE as identified in Doc. 127-3 and as admitted by ELI LILLY in Doc,
     127-4.
             Nevertheless, the US Court of Appeals for the 10 th circuit never
     acquired subject matter jurisdiction in appeal case no. 03-4219 from the
     outset sufficient to permit that Appellate Court to enter any judgment
     (including a contempt judgment) against HOLLIE because the underlying
     action had been removed from their appellate jurisdiction as a matter of

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            law. See City Center West v. American Modern Home Insurance, No.
            12–1343 (10th Cir. 2014) (We agree with American Modern that our
            judgment must be vacated because the appeal was mooted before we
            published the decision, by a transfer in rights to the controversy.)
                   Secondly, because Judge Campbell was a constitutionally biased
            tribunal, all dispositions by Judge Campbell were prima facially void and
            the 10th Circuit had no authority but to declare such voidness. Refer back
            to V. T. A., INC. V. AIRCO, INC., 597 F.2d 220, fn 8 (10th Cir. 1979). Also
            see Arizona v. Fulminante, 499 U.S. 279 (1991) Held: Trial by a biased
            judge is structural error mandating automatic reversal because such error
            "calls into question the very accuracy and reliability of the trial process."
            McGurk v. Stenberg, 163 F.3d 470, 474 (8th Cir. 1998)). Tumey v. Ohio,
            273 U.S. 510 (1927) (structural error to be subjected to a biased tribunal.);
            See also Am. Isuzu Motors, Inc., et.al. v. Ntsebeza, et al., No. 07-919,
            Supreme Court of United States. (May 12, 2008) (Case rejected because
            four Supreme Court justices own upwards of $15,000 stock interests in the
            corporate defendants named in the lawsuit); Washington v. Recuenco,
            548 U.S. 212, 126 S.Ct. 2546, 2551 n. 2, 165 L.Ed.2d 466 (2006)
            (structural error, not susceptible to forfeiture (or harmless error analysis).;
            Sullivan v. Louisiana , 508 U.S. 275, 283, 113 S.Ct. 2078, 124 L.Ed.2d
            182 (1993)(“due process demands that the judge be disqualified for “bias,
            or a likelihood or appearance of bias.”) In re Murchison , 349 U.S. 133,
            136, 99 L.Ed. 942 (1955).
                   Third, Trial case no. 2:97-cv-951 TC was subject to the automatic
            stay of the bankruptcy code immediately after HOLLIE filed chapter 13
            bankruptcy because ELI LILLY and the IRS were attempting to collect debts
            against HOLLIE as set offs for HOLLIE's tort claims against these
            defendants. (See Creditors' registry filed in HOLLIE's 2003 bankruptcy
            case as exhibit "19" attached and identifying these alleged creditors
            claims filed by ELI LILLY and the IRS.) 8 . The stay applies to tax
            matters irregardless of what position the debtor occupies in the non-
            bankruptcy case.            See 40235 Washington Street Corporation v.
            Lusardi (9th Cir., 2003) (Section 362(a) of the Bankruptcy Code provides
            that the filing of a bankruptcy petition creates an automatic "stay, applicable
            to all entities, of," inter alia, "any act to create, perfect, or enforce any lien
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         8. Bankruptcy Judge Judith Boulden in June of 2003 would affirm HOLLIES' amended
chapter 13 plan and disallow both ELI LILLY and the IRS' creditors claims as void and
unenforceable AFTER finding that these creditors claims were completely fabricated by
these alleged creditors to extort HOLLIE into foregoing her tort claims against these
tortfeasors. See Systemcare Inc v. Wang Laboratories, 95-1032 (10th Cir. 1996) (Where
non-bankruptcy lawsuit seeks claims against the debtor for pre petition conduct, claims are
permanently enjoined upon confirmation of the debtor's plan.); Siegel v. Federal Home
Loan Mortg. Corp., 143 F.3d at 529 (9th Cir. 2003) (The Ninth Circuit has repeatedly held “a
bankruptcy court's allowance or disallowance of a claim at the confirmation hearing becomes
a final judgment upon expiration of the period of appeal,


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            against property of the estate." 11 U.S.C. § 362(a). “This stay applies
            equally to tax matters. . .and it would be irrelevant what position the
            debtor occupied in a non-bankruptcy case because the inquiry is
            whether a creditor was seeking to enforce a lien.” In re Kampman
            Farms, Inc., 6 B.R. 653 (Bankr.W.D.Okl., 1980)).
                  For the aforesaid reasons, the automatic stay of the bankruptcy code
            enjoined the 10th circuit court of appeals from acquiring appellate
            jurisdiction AS A MATTER OF LAW. See Consolidated Electric Corp.,
            894 F. 2d 371, 373 (10th Cir. 1990) (Stay applies in any official
            proceeding where the debtor is a defendant or respondent. Any
            continuation of that proceeding is taken in violation of the automatic stay
            when causes of action are part of the debtor's estate. Any resulting
            judgment in the non-bankruptcy court is void and without effect.”).
                  Last but not least, the appellate panel assigned to 10 th circuit appeal
            case no. 03-4219, owned upwards of $2 million in stock interests in the
            appellee companies subject to that unauthorized appeal. Accordingly,
            because HOLLIE was deprived of a constitutionally impartial tribunal, any
            orders entered by anyone of the three justices invoking jurisdiction over that
            appeal, was constitutionally VOID.

                 (iii)   United States Supreme Court: Lundahl v. Eli Lilly & Co., 125
            S. Ct. 1940 (2005), was VOID AB INITIO:
                   This was a Certiorari Petition forged in HOLLIE's name by ELI LILLY
            and COMPANY AFTER ELI LILLY procured HOLLIE's false imprisonment in
            jail on yet another criminal prosecution, and as averred by HOLLIE in her
            Certiorari Petition filed in the U.S. Supreme Court at PageID #'s: 1796-
            1977 herein and as admitted by ELI LILLY in that Cert proceeding as
            shown by PageID #: 1815 herein. 9 For the aforesaid grounds, the forgery
            of the Certiorari Petition in HOLLIE's name rendered the entire Supreme
            Court proceedings void and any contempt judgment resulting therefrom,
            equally void. See Rose v. Himely, (1808) 4 Cranch 241, 2 Led 608; Pennoyer
            v. Neff, (1877) 95 US 714, 24 L Ed 565; Thompson v. Whitman (1873) 18 Wall
            457, 21 I Ed 897; Windsor v. McVeigh, (1876) 93 US 274, 23 L Ed 914;
            McDonald v. Mabee, (1917) 243 US 90, 61 L Ed 608 .
                   In addition, the US Supreme Court order is additionally void because it
            was entered in violation of the automatic stay of the bankruptcy code.
            Specifically, the automatically stay of the bankruptcy code attaches to a
            chapter 13 debtor's estate until that estate has been administered and closed.
            See 1 David G. Epstein et al., Bankruptcy § 3-14, at 162 (1992) ("Section
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        9. See Robert K. Brown v. City of Casper and Officer Eric E. Walters, Individually,
2011 WY 35 (Wyo. 2011) (averments not denied are deemed admitted.). Also see
Starbuck v. Murray, 5 Wendell, 158, held: “It is strenuously contended that if matter may be
pleaded by the defendant, he is estopped from asserting anything against the allegation
contained in the record” . . . where the defendant fails to oppose the record with
contrary evidence.

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     362(a)(3) stays all actions, whether judicial or private, that seek to obtain
     possession of property of the estate, or property from the estate, or to
     exercise control over property of the estate. The trustee or debtor in
     possession takes control of all property of the estate. No entity, including a
     federal or state court, may exercise control over the causes of action in an
     estate unless the court grants an order lifting the automatic stay pursuant to
     specific limitations set forth in the code.”). “The automatic stay protects
     lawsuits which are assets of an estate until the estate is administered and
     closed.” In re Chaparro Martinez, 293 B.R. 387 (Bankr. N.D. Tex. 2003);
     Foster v. Heitkemp, 670 F.2d 478 (5 th Cir. 1982). In re Small, Civ. No. 14-08-
     01075-CV (Tex. App. - Houston (14th Disl.) 2009) (The automatic bankruptcy
     stay abates any judicial proceeding that is an attempt to collect against the
     debtor, depriving state and federal courts of jurisdiction over the debtor and
     his property until the stay is nullified by closure of the bankruptcy
     estate. Baytown SI. Bank v. Nimmons, 904 S.W.2d 902, 905 (Tex. App.-
     Houston [1 st Dis1. 11995, writ denied). An action taken in violation of the
     automatic bankruptcy stay is void, not merely voidable. Howell v. Thompson,
     839 S.W. 2D 92, 92 (Tex. 1992) (order); Continental Casing Corp. v.
     Sameadan Oil Corp., 751 S.W. 2D 499, 501 (Tex. 1988) (per curiam).
     Consolidated Electric Corp., 894 F. 2d 371, 373 (10th Cir. 1990).
            Attached hereto as exhibit “20” is the order closing LUNDAHL's chapter
     13 estate on January 4, 2006. The Supreme Court contempt judgment was
     entered ex parte and without notice to LUNDAHL and based on a forged
     petition, on April 25, 2005; during the pendency of the stay applying
     LUNDAHL's chapter 13 estate. Accordingly the US Supreme Court
     contempt injunction is VOID Ab Initio and this court has a duty to vacate
     same.

         (iv) United States District Court for the District of Utah: L.A.
     Homeowners Aid, Inc. Lundahl, 2006 WL 2459371 at **4-5 (D. Utah 2006),
     was VOID AB INITO:

            There was no pre-filing injunction entered against HOLLIE
      in the above stated case. Rather, a financially conflicted Magistrate
      judge cited to a pre-filing injunction entered by Utah Judge Dee Benson, ex
      parte, without notice, and without any federal question case pending before
      Judge Dee Benson's court involving HOLLIE on July 8, 2004. Judge
      Benson's filing injunction was purportedly based on the All Writs Act.
      However the All Writs Act standing alone does not confer subject matter
      jurisdiction. See United States v. City of New York, 972 F.2d 464, 470 (2d
      Cir. 1992) (“The All Writs Act cannot confer on the courts the power to
      ignore the case or controversy requirement, which is rooted in Article III of
      the constitution's definition of judicial power."); In re Baldwin-United Corp.
      (Single Premium Deferred Annuities Ins.Litig.), 770 F.2d 328, 340 (2d Cir.
      1985) ("The All-Writs Act . . . cannot be used to circumvent or supersede the
      constitutional limitations of the initiating petition in the first instance.);
           Specifically, on July 8, 2004, without any federal question case


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      pending before Utah Judge Dee Benson's court involving HOLLIE as a
      party, this Judge executed a pre-filing injunction against HOLLIE pursuant to
      28 USC § 1651, the All Writs Act, in the fashion of a Star Chambers court
      and in violation of Syngenta Crop Protection, Inc. v. Henson, 537 U.S. 28,
      123 S.Ct. 366, 369-70 (2002)( "[t]he All Writs Act does not confer subject
      matter jurisdiction on federal courts; there must be an independent basis for
      subject matter jurisdiction in order to issue a Writ or injunction under the All
      Writs Act.). See Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 101
      (1998) (there is no "doctrine of hypothetical jurisdiction". Without
      jurisdiction, a court cannot proceed at all, but can only dismiss the
      suit. To do otherwise would be “an ultra vires act ” by that federal court.
      (Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 102 (1998).
              Moreover HOLLIE was not served with any OSC notice re Judge
      Benson's 2004 pre-filing injunction as HOLLIE was then falsely imprisoned
      in jail by the state of Utah as 4 th judicial district court case no. 045403074,
      Utah v. Holli Lundahl. (There is no record of HOLLIE having been served any
      process while in jail as a pre-trial detainee in this Utah criminal proceeding,
      outside of the proceeding itself.). Therefore Benson's court lacked both
      subject matter and personal jurisdiction to enter a serious contempt
      injunction against HOLLIE.
              To give BENSON's VOID, secretive and ex parte filing injunction
      facial credibility, LAHA opened a Utah federal case before Judge Benson's
      Court under the All Writs Act in March of 2005 as USDC-UT case no. re
      2:05-mc-253-DB (8 months after BENSON executed the VOID filing
      injunction secretly against HOLLIE.) and petitioned Judge Benson to expand
      his pre-filing injunction against HOLLIE.
               HOLLIE opposed the validity of Judge Benson's 2004 filing injunction
      in case no. 2:05-mc-253-DB, by arguing the lack of federal question under
      the All Writs Act pursuant to the rules set forth in Syngenta Crop Protection,
      Inc. v. Henson, 537 U.S. 28, 123 S.Ct. 366, 369-70 (2002)(holding the All
      Writs Act does not provide a federal question claim under section 1331.)
      HOLLIE also demanded production of the OSC and its related service return
      justifying personal jurisdiction over HOLLIE.
                During the course of case no. 2:05-mc-253-DB, LAHA could not and
      did not advance any case law which allowed LAHA to proceed in a contempt
      action against LUNDAHL solely under the All Writs Act. Furthermore, LAHA
      never produced an OSC re the July 8, 2004 Injunction nor did LAHA
      produced the service return showing service of any OSC upon HOLLIE;
      BECAUSE, IN FACT,              THESE DOCUMENTS DID NOT EXIST. See
      WILSON v. NORTH CAROLINA, 169 U.S. 586 (1898) (held: when the
      contemnor denies service of the rule to show cause, the writ must be
      dismissed for want of jurisdiction and the rule to show cause, discharged.);
      In re Center Wholesale, Inc., 759 F.2d 1440, 1448 (9th Cir. 1985) (holding
      judgment void because aggrieved party had not received adequate notice of
      the proceedings.); SIMON v. SOUTHERN RAILlWAY, 236 U.S. 115 (1915)
      (United States courts by virtue of their general equity powers have
      jurisdiction to enjoin the enforcement of a judgment obtained without


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      service);
                When LAHA failed to establish their case, Judge Benson was
      compelled to dismiss case no. 2:05-mc-253-DB in 2009 (see exhibit “22”
      attached); yet again while HOLLIE was falsely imprisoned on the latest
      criminal charges advanced by LAHA and ELI LILLY in re USA v. LUNDAHL ,
      USDC-UT case nos. 2:06-CR-693 and 2:07-CR-272 and which kept HOLLIE
      in jail as a pre-trial detainee for nearly three years before being dismissed by
      the US prosecutor in HOLLIE's favor for lack of subject matter jurisdiction by
      way of failure of probable cause to establish the crimes charged. The U.S.
      Prosecutor concluded that ELI LILLY and LAHA had filed false and repetitive
      charges against HOLLIE for collateral advantage in the suits HOLLIE had
      pending against these defendant tortfeasors. See dismissal order in these
      criminal cases as exhibit “21” attached hereto.
                In fact, ELI LILLY had a long history of filing false charges against
      HOLLIE as noted by a state prosecutor back in 1993 when ELI LILLY tried to
      prosecute HOLLIE with multiple acts of insurance fraud. See state
      prosecutor's lettered dismissal order as exhibit “23” attached hereto and
      noting on the second page that ELI LILLY had committed wholesale perjury
      and filed false statements to secure HOLLIE's malicious prosecution on bad
      faith criminal charges from 1991 to 1993.
               Over the past 27 years, neither ELI LILLY or any other defendant
      tortfeasor have ever filed competent or truthful criminal or contempt
      charges against HOLLIE;              rather the defendants have repeatedly
      exercised the office of various courts to continue their associated in fact
      criminal enterprise to extort and defraud HOLLIE of her causes of action.
              Nevertheless because Judge Benson lacked subject matter and
      personal jurisdiction over HOLLI to enter any pre-filing injunction, Judge
      Benson's pre-filing injunction entered on July 8, 2004 is void ab initio as well
      as any orders based on that void filing injunction.


            (v) United States District Court for the District of Idaho: Lundahl
      v. Nar Inc., 434 F.Supp.2d 855 (D.Idaho 2006), was VOID AB INTIO:

             This prefiling injunction was entered against HOLLI by a financially
      conflicting judge acting as a prosecutor to convict HOLLI of the false crime
      of fictitious Idaho address, and not for any legitimate purpose presented by
      the operative complaint.
              Specifically, in 2002, NAR collection agency filed a dental collection
      action against HOLLIE's household to include her sister as Utah Third
      Judicial District Court case no. 020201658. HOLLIE filed a Counterclaim
      against the collection agency under UTAH RICO, the Computer Fraud and
      Abuse act, and the Unlawful Debt Collection Practices act.       To avoid the
      counterclaim, NAR filed a fraudulent motion to dismiss falsely claiming that
      HOLLIE's household had settled their claims against the NAR litigants with
      prejudice on June 13, 2002 – when in fact no negotiation talks ever took
      place. See exhibit “24” attached for this false motion to dismiss. Five days
      later, NAR met ex parte with the sitting court and obtained a dismissal with


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      prejudice judgment of the entire action. See exhibit “25” attached. Holli
      moved to vacate the judgment under Rule 60(b)(6) based upon fraud upon
      the court practiced by NAR's attorney.
            While the Rule 60(b)(6) motion remained pending before the state court,
      HOLLIE filed chapter 13 bankruptcy. In 2003, HOLLIE removed the NAR
      litigation to the bankruptcy court as adversary proceeding no. 03-P-2317 and
      which removal action stripped the state court of all further jurisdiction upon
      HOLLIE's filing of the removal petition with the state court. The adversary
      proceeding was subsequently withdrawn to the Utah district court sitting in
      his bankruptcy jurisdiction as case no. 04-04224. Attached hereto as exhibit
      “26” is the pertinent portions of the docket in the NAR removal action.
             As can be seen in the docket entry on September 1, 2004, the NAR
      litigants filed a motion to remand within 30 days of the removal by HOLLIE in
      2003. In the alternative, NAR filed a motion to dismiss the entire matter
      without prejudice to reportedly MOOT Plaintiff's counterclaims. HOLLIE
      countered NAR's motion to dismiss arguing that her counterclaims were not
      rendered moot because the NAR defendant's chose to withdraw their original
      claims.
              More than 4 months after the removal, NAR's attorneys appeared in the
      state court lacking subject matter jurisdiction over the removed claims, and
      obtained an attorneys fees and costs judgment against HOLLI and her sister
      KELLI in an amount of more than $5,300.00 collectively. See exhibit “27”
      attached for this judgment.
              HOLLIE subsequently filed a motion to amend her counterclaim to
      include additional money damages for NAR's violation of the automatic stay
      and removal statutes of the bankruptcy code. Refer back to date entry of
      September 1, 2004 in exhibit “26” attached for reference to HOLLI's
      amendment motions.
               On September 1, 2004, the sitting judge denied [emphasis added]
      NAR's motion to remand, granted NAR's motion to dismiss the federal action
      without prejudice and as MOOT given NAR withdrew her original claims
      against HOLLIE and her household, and improperly denied HOLLIE's motion
      to amend her counterclaim, as MOOT. Subsequent thereto, the judge
      entered a final order closing the action.
               Sixteen months later, NAR would enter the state of Idaho and record
       the void attorneys fees judgment against HOLLIE's then residence property
       for purposes of foreclosing on that property. See exhibit “28” attached for
       the wrongful recording of this lien.
               HOLLIE brought a RICO, wrongful lien and abuse of process action
       against NAR in the federal court in Idaho as case no. 05-cv-127. NAR and
       other non-standing intervenors forum shopped HOLLIE's case to judge
       Richard Tallman, having a reputation of fixing pro se actions in favor of
       represented parties.        Judge Tallman accused HOLLIE of a false and
       fictitious Idaho address under 18 USC section 1342 because the court's
       mail directed to HOLLIE's former PO Box address, kept getting returned to
       the court. This charge is a felony under federal law.
            On or about May 15, 2006, the Idaho judge conducted a criminal


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      contempt hearing on the charge of a false and fictitious address. Like the
      judges before and after him, this judge simply ignored HOLLI's titling
      documents at exhibit “28” attached, so that he could fix a criminal contempt
      judgment against HOLLIE for some type of fraud crime that would impact
      HOLLIE in any civil litigation HOLLIE pursued.       On May 27, 2006, this
      judge entered a criminal/civil contempt injunction against HOLLIE, finding
      that HOLLIE was using a false and fictitious Idaho address ( in violation of 18
      USC section 1342) to find new forums for her litigation activities. This
      judge also found that HOLLIE was her sister MARTI, without any evidentiary
      support. See exhibit “29” attached.
           HOLLI filed objections to Judge Tallman's effective criminal / civil
      contempt judgments as supported without probable cause. Judge Tallman
      then ordered HOLLI to pay the court $500 in criminal sanctions for allegedly
      reporting a false Idaho address under 18 USC section 1342. See exhibit
      “30” attached for this order. HOLLIE paid the criminal contempt sanction
      upon a strongly reported objection. See exhibit “31” attached. In spite of
      HOLLIE paying the criminal contempt sanction, Judge Tallman nevertheless
      corruptly dismissed HOLLIE's claims against the NAR litigants with prejudice
      as an additional criminal sanction.
             HOLLI timely appealed the criminal/civil contempt sanctions to the 9 th
      circuit court, whom held HOLLIE's appeal in abeyance. Four weeks later,
      HOLLIE would be seized on ELI LILLY, LAHA, WELLS FARGO and WAMU's
      false charges of alleged bankruptcy fraud for refusing to identify these
      defendants as creditors in HOLLIE's chapter 13 case as USDC-UT, USA v.
      Lundahl, case no. 2:06-CR-693.         The ninth circuit refused to process
      HOLLIE's appeal because HOLLIE was in jail on the aforedaid bankruptcy
      fraud charges. HOLLIE spent three years in jail as a pre-trial detainee
      before the bankruptcy fraud charges were dismissed in HOLLIE's favor in
      2009 as shown in exhibit “21” attached.
             Nevertheless, the Idaho federal contempt judgment is VOID on
      numerous grounds to wit:
          Judge Tallamn Did Not Have Standing To Charge, Prosecute
          Or Convict HOLLIE Of The Crime of Fictitious Idaho Address
           "Congress has by statute conferred the power to prosecute crimes
      in the name of the United States on the United States Attorney General
      and his delegates. See 28 U.S.C. §§ 516, 519. The long-standing view
      of the Supreme Court is that such power is exclusive. See, e.g., United
      States v. Nixon, 418 U.S. 683, 693 (1974) ("the Executive Branch has
      exclusive authority and absolute discretion to decide whether to
      prosecute a case") (emphasis added); id. At 694. See also The
      Confiscation Cases, 74 U.S. 454, 457 (1868) ("Public prosecutions are within
      the exclusive direction of the district attorney. "); “There is a prohibition
      against a judge "adjudicating a case where he appears to act as an
      investigator for the government," Johnson v. Carroll, 369 F.3d 253, 260
      (3d Cir.2004). In “In re Lahm Industries Inc., 609 F.2d 567 (1st Cir.
      1979)”, the appellate court addressed and opined the very argument made
      here:

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              The district court held that both appellants had committed criminal
              contempt violating section 41(a)(1) of the Bankruptcy Act, 11
              U.S.C. § 69(a) (1), and ordered Attorney Medina-Zurinaga to pay
              the United States $200 and the Party Bank $100.
                    These orders were void for lack of subject
                    matter jurisdiction. No prosecutor was brought
                    in and the parties submitted their objections by supple-
                    mentary briefing.      The trustee did not, as a
                    private party, have standing to prosecute the
                    criminal contempt proceeding before the
                    district court. Ramos Colon v. United States
                    Attorney General, 576 F.2d 1, 5 (1st Cir. 1978). The
                    district court should have dismissed the criminal
                    contempt case for, without the proper parties,
                    there was no criminal prosecution and the court
                    lacked subject matter jurisdiction. Cf. Simon v.
                    Eastern Kentucky Welfare Rights Organization, 426
                    U.S. 26, 37-38, 96 S. Ct. 1917, 48 L. Ed. 2d 450 (1976)
                    (where the parties lack standing, the court is without
                    jurisdiction).
                    Even though this jurisdictional defect was not recognized
              below nor argued on appeal, we have the constitutional obligation
              and corresponding authority to make this determination at the
              appellate level. Mansfield Coldwater & Lake Michigan Railway v.
              Swan, 111 U.S. 379, 382, 4 S. Ct. 510, 28 L. Ed. 462 (1884).
                   Because we find that the district court lacked jurisdiction, we
              reverse appellants' conviction for criminal contempt. It is too
              late in the day for the government to come in and attempt to
              salvage a conviction which had no jurisdictional basis.). Followed
              in Young v. United States ex rel. Vuitton et Fils S.A., 481 U.S.
              787, 107 S.Ct. (1987).
        Here, the Idaho federal court assessed plaintiff a $500 fine and never brought
   in a US prosecutor to prosecute Plaintiff for alleged fictitious address. As a result,
   no proper parties with standing were made part of the criminal contempt
   prosecution conducted against Plaintiff. Therefore the entire contempt proceeding
   was a nullity as being conducted without subject matter jurisdiction. Accordingly
   this court must vacate the NAR decision on this ground alone.
            The Idaho Federal Court Never Obtained Personal
            Jurisdiction Over Plaintiff Due To A Failure To Personally
                    Serve Plaintiff With A Criminal OSC
        F.R.Cr.P. Rule 4(c)(1) requires that either a US Marshal or some other
   authorized official personally serve a criminal complaint upon the accused. No
   personal service was effected upon plaintiff of the criminal OSC issued by the
   Idaho federal judge. Accordingly personal jurisdiction was never obtained over
   HOLLI sufficient to sustain a criminal contempt judgment against Holli. See


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   Connors v. Connors, 769 P.2d 336 (Wyo. 02/07/1989), opining:
               . . .the United States Supreme Court has stated that where "both
               civil and criminal relief are imposed in the same proceeding, then
               the `"criminal feature of the order is dominant and fixes its
               character for purposes of review."' See Nye v. United States,
               313 U.S. 33, 42-43, 61 S.Ct. 810, 813, 85 L.Ed. 1172 (1941)
               (charges of fraud upon the court cary criminal badges requiring the
               protection of criminal procedures quoting Union Tool Co. v. Wilson,
               259 U.S. 107, 110, 42 S.Ct. 427, 428, 66 L.Ed. 848 (1922)." Hicks,
               108 S.Ct. at 1433 n. 10 (emphasis in original).
          Here, the criminal nature of the proceedings was obvious given the federal
   judge issued a fine against Plaintiff. Accordingly, the federal judge was under a
   duty to see that Plaintiff was properly “personally served” with the criminal
   complaint labeled in the form of an OSC. Because Plaintiff was not personally
   served, the Idaho federal court never acquired personal jurisdiction over Plaintiff
   sufficient to enter a criminal contempt judgment against Plaintiff.
             Judge Tallman Entered a Criminal Judgment In Favor of
               The NAR Litigants In Direct Violation of Federal Law
          A court may not enter as a criminal fine in favor of private party in litigation.
   This conclusion of law was directly addressed by the Wyoming Supreme Court in
   Horn v. District Court, Ninth Jud. Dist., 647 P.2d 1368 (Wyo. 1982). The
   analysis of the court went as follows:
            The law plainly requires a reversal of the $36,927.18 fine levied
       against appellant because the trial judge acted outside of the scope of his
       powers in awarding compensation to the defending litigants in a criminal
       contempt proceeding. We affirm the $100 fine initially entered because it
       does not evidence an abuse of discretion. Badley v. City of Sheridan,
       supra.
            The law is well settled that criminal contempt proceedings are designed
       to protect the integrity of the courts and they are instituted to preserve
       public confidence in judicial tribunals. As such, the public is the interested
       party rather than any particular individual suitor. This principle was set out
       United States Supreme Court in Bessette v. W.B. Conkey Co., 194 U.S.
       324, 24 S.Ct. 665, 48 L.Ed. 997 (1904), when the court stated: "Manifestly
       if one inside of a courtroom disturbs the order of proceedings, or is guilty of
       personal misconduct in the presence of the court, such action may properly
       be regarded as a contempt of court, yet it is not misconduct in which any
       individual suitor is specially interested. It is more like an ordinary crime
       which affects the public * * *." (Emphasis added.) 194 U.S. at 329, 24 S.Ct.
       At 667.
           Considering the nature of criminal contempt, the courts have established
       the rule that, since the purpose of fines for criminal contempt is to punish,
       the proper aggrieved party is the state and not a private litigant who is the
       beneficiary of an award in a civil contempt proceeding. See Nye v. United
       States, supra; United States v. United Mine Workers of America, 330 U.S.
       258, 303, 67 S.Ct. 677, 701, 91 L.Ed. 884 (1947); State ex rel. Payne v.
       Empire Life Ins. Co., Ala., 351 So.2d 538 (1977); State v. Unique Ideas,


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       Inc., 44 N.Y.2d 345, 405 N.Y.S.2d 656, 376 N.E.2d 1301 (1978); Brown v.
       Brown, 183 Colo. 356, 516 P.2d 1129 (1973). This general rule concerning
       the proper allocation and power of the courts to punish for criminal
       contempts was discussed as follows in Hyde Construction Company, Inc. v.
       Koehring Company, 387 F. Supp. 702 (S.D. Miss. 1974):
            We find no instance in which any court, in criminal contempt
            proceedings, has allowed private litigants to share in a fine which is
            punitive and devoid of remedial purpose." (Footnotes omitted and
            emphasis in original.) Id. At 715- 716.
        Here, the Idaho federal judge as an additional fine imposed against Plaintiff,
   dismissed Plaintiff's case against the NAR litigants. In accordance with HORN
   supra, the judge had no subject matter jurisdiction to enter this dismissal order.
   Plaintiff moves that the dismissal order be set aside as void
             The Idaho Federal Contempt Injunction Was Void For
             Failure To Provide Plaintiff With Criminal Procedures
   See Cobell v. Norton, 334 F.3d 1128 (D.C.Cir. 07/18/2003) : Contempt citation for
   "litigation misconduct" tantamounting to a “fraud on the Court" must be
   prosecuted as a criminal contempt proceeding and tried by a jury. 226 F.
   Supp. 2d at 161. Accord Bagwell, 512 U.S. at 829 ("When a contempt involves
   prohibited act and hence carries a criminal hallmark, the resulting sanction
   has no coercive effect" and is therefore punitive in nature); id. at 828 (describing
   a sanction as criminal "if it is imposed retrospectively for a 'completed act
   of disobedience' " (quoting Gompers, 221 U.S. At 443)). See also F. J.
   Hanshaw Enters., Inc. v. Emerald River Dev., Inc., 244 F.3d 1128, 1139 (9th
   Cir. 2001) : Charges of attempted corruption of the judicial process were criminal
   in nature and entitled contemnee to a jury trial.
          Because the federal judge's criminal contempt charges involved possible
   prison terms of 5 or more years plaintiff was entitled to the protection of criminal
   procedures including: (1) the right to a jury trial on the charged crimes, (2) the
   right to a private prosecutor determining whether probable cause existed to even
   initiate criminal charges; (3) the right to a Franks probable cause hearing; (4) the
   right to present testimony to a jury; and (5) the right to cross examine her
   accusers in front of a jury.
            The Idaho Federal Contempt Injunction Was Void For
                               Broadness
         In Blaylock v. Tinner, 13-3151 (10th Cir. 11/04/2013), the 10th circuit
    reaffirmed that an “injunction must be carefully tailored and may not be so
    burdensome as to deny the litigant meaningful access to the courts.
    Sieverding v. Colo. Bar Ass'n, 469 F.3d 1340, 1343 (10th Cir. 2006); Tripati, 878
    F.2d at 352. In Sieverding, supra, the district court entered a prefiling order against
    Ms. Sieverding, barring her access on any claim, against any party and in any
    court. The 10th circuit modified the trial court's ruling to prohibit the Sieverdings
    from commencing any pro se litigation in the federal district court within the Tenth
    Circuit against the parties involved in 02-cv-1950.
           The US Supreme Court has long held that Injunctions which are void
            should be declared so any time petition is made. Ex parte Rowland,


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          104 U.S. 604 (1882).
        Because Judge Skavdahl acted as a prosecutor and jury in the above stated
    criminal contempt action, without standing to do so, his judgments resulting from
    those ultra vires acts are void ab initio.


    (vi)   Idaho Supreme Court: Telford v. Nye, 154 Idaho 606 (2013)(affirming
           order declaring Telford to be a vexatious litigant), was void ab initio;
          In this filing injunction, the Idaho Supreme Court affirmed a trial court order
    declaring HOLLIE to be a vexatious litigant by a trial judge that had no case
    concerning HOLLIE pending before him and whom was a constitutionally biased
    judge as a person HOLLIE had a pending RICO action against while this judge
    acted as an attorney perpetrating his clients RICO crimes.
           Specifically, judge NYE acting in his administrative capacity usurped
    jurisdiction over HOLLI under his administrative authority for the sole purpose of
    blocking HOLLIE from suing him in any court in the state of Idaho where personal
    jurisdiction over this Judge would lie. This judge used his office to extort HOLLIE
    of her claims against this judge while this judge acted as an attorney for private
    RICO defendants.
           HOLLIE immediately challenged this judge's jurisdiction over her as
    constitutionally biased judge. The Idaho Supreme Court in defiance of well
    established U.S. Supreme Court law, found that HOLLIE could not challenge
    this judge's jurisdiction over her because the Idaho disqualification statutes only
    applied to judges sitting in their judicial capacity, not their administrative capacity.
           Moreover, no Idaho court had ever made an adverse decision against
    HOLLIE as required by the statute. In fact every Idaho Court to have sat on a
    petition brought by HOLLIE, dismissed HOLLIE's claims without prejudice for
    personal jurisdiction reasons and for the sole purpose of running HOLLIE out
    of the state.
           Nevertheless, because HOLLIE was provided a constitutionally biased
    decision maker, HOLLIE is entitled to have the IDAHO Supreme Court Judgment
    declared void ab initio in a separate proceeding. See Offutt v. United States, 267
    US 517, 539 (1925) (the high Court set aside a contempt conviction imposed on a
    lawyer after a trial marked by personal recriminations and animosity between the
    trial judge and the lawyer.)n         Davis v. Board of School Comm'rs Of Mobile
    County, 517 F.2d 1044, 1045 (5th Cir. 1975) (“Efforts to dispose of matters for
    reasons other than on the merits deserve to be characterized as “pervasive
    bias” or “prejudice” and meet the exception to the “extrajudicial source
    doctrine” sufficient to have the court disqualified and the judgment overturned.).
    See also United States v. Sciuto, 521 F.2d 82, 85 (7th Cir. 1976) (“Disqualification
    required when the record shows an effort to dispose of the case for reasons other
    than on the merits, or shows persistent due process violations committed by the
    court. Under these circumstances pervasive bias will be shown.).
            Accordingly, LUNDAHL is entitled to have the Idaho Supreme Court
     Judgment decreed null and void and to have it set aside.


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          (vii)   Wyoming Supreme Court: Holli Lundahl v. Eli Lilly & Co.,
                  S-15- 0061 (Wyo. 2015), was VOID AB INITIO
            The primary basis for the Wyoming Supreme Court pre-filing Injunction
      was to bar TELFORD aka LUNDAHL from voiding the federal contempt
      injunctions raised by CENTURYLINK in this action.
            Specifically, ELI LILLY filed a petition to declare LUNDAHL vexatious in
      the state courts of Wyoming basing that Petition solely on the existence of the
      federal pre-filing injunctions entered by various federal courts wherein ELI
      LILLY was a petitioning party.
            The state Wyoming judge found that it lacked jurisdiction to decree
      federal judgments void ab initio as a state court judge.
             HOLLIE argued that U.S. Supreme Court authority in re Rivet v.
      Regions Bank of Louisiana, 522 U.S. 470, 118 S.Ct. 921, 139 L.Ed.2d 912
      (1998), quoting caterpillar, Inc. v. Williams, 482 U.S. 386, 392. 107 S.Ct.
      2425,96 L.Ed.2d 318 (1987) provided that federal judgments could be
      attacked in state court proceedings if justified by fraud or other defect in
      obtaining the judgment and that review would properly be through the state
      court channels.      HOLLIE also asserted that “An order that exceeds the
      jurisdiction of a court is void, and can be attacked in ANY proceeding in
      ANY court where the validity of the judgment come into issue", (citing
      Rose v. Himely, (1808) 4 Cranch 241, 2 Led 608; Pennoyer v. Neff, (1877) 95
      US 714, 24 L Ed 565; Thompson v. Whitman (1873) 18 Wall 457, 21 I Ed 897;
      Windsor v. McVeigh, (1876) 93 US 274, 23 L Ed 914; McDonald v. Mabee,
      (1917) 243 US 90, 61 L Ed 608 ; and hence a state court could sit on attack of
      a federal judgment.
           The Wyoming trial Judge refused HOLLIE the right to attack the federal
      judgments in the state filing injunction action brought by ELI LILLY and
      predicated on those void federal judgments and issued an indefinite stay order
      so that the admited effect of the VOID federal injunctions would continue in
      perpetuity. HOLLIE timely appealed that interlocutory decision under
      Wyoming's injunction statute. The Wyoming Supreme Court refused to take
      jurisdiction over HOLLIE's appeal as a non final order; all in violation of
      HOLLIE's equal protection rights under the 14 th amendment and further
      penalized HOLLIE with a filing injunction before that Court to prevent HOLLIE
      from ever accessing that Court to attack the VOID federal injunctions.
      HOLLIE will be suing that court under ex parte young for an ongoing violation
      of her 1st and 14th amendment rights to attack void judgments.

     6.    The Referral of Nelson et al v. Mountain West Farm Bureau
           et al., to the United States Attorney for the District of Nebraska
           Does Not Establish Any Litigation Crimes By Telford AKA
           Lundahl, Or By Any Appearing Pro SE Party In That Action
          CENTURYLINK argues that because LUNDAHL's case labeled Nelson et al v.
Mountain West Farm Bureau et al., 16-CV-368, (D.Neb.2016) was referred to the U.S.


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Attorney's office for alleged mail fraud, wire fraud, and identity fraud, that this somehow
establishes that TELFORD aka LUNDAHL is guilty of engaging in criminal litigation activities
before this court under the label of fraud upon this Court.
          First and foremost, the referral to the US Attorneys offices is found in exhibit “32”
attached wherein Judge Kopf expressly stated that:
              “However, to be clear, I take no formal position as to
               whether any criminal activity has, in fact, occurred.

        Judge Koph's above suggested findings were based on the submission of a forged
insurance application in TELFORD's name which falsely represented that TELFORD was a
licensed paralegal earning a living from this occupation (and which carried with it the
implications that TELFORD charged third persons legal fees for tutoring and engaging in the
practice of law.)   That forged Insurance application is attached hereto as exhibit “33” and
was submitted to Judge Koph's court ex parte and without notice to TELFORD. This forged
insurance application resulted in Judge Kopf'        conducting what was in fact a criminal
contempt trial for practicing law without a license and primarily focused at TELFORD.     See
hearing transcript as exhibit “34” attached revealing the true criminal contempt nature of the
contempt hearing conducted by Judge Kopf without the proper OSC notice.
         Nevertheless, worthy of mention is that the US prosecutor has had referral of the
case since the end of September of 2016 (8 months) and HAS YET TO IDENTIFY ANY
MAIL FRAUD, WIRE FRAUD OR IDENTITY THEFT                      BY THE PRO SE PARTIES AND
MATERIALLY ASSOCIATED WITH THAT ACTION;                 because in fact these offenses were
committed by the Insurance Company in tendering a forged insurance application in
HOLLIE's name to Judge Kopf's court for purposes of successfully obstructing that action for
reasons other than on the merits .      Moreover     HOLLIE cannot amend the action before
Judge Kopf's court to add witness tampering and obstruction of justice claims under the
RICO statute against the Insurance defendants, due to a pending stay order by Judge Kopf
and exercised in perpetuity until the USA prosecutor returns a a written decision denying
probable cause on the charges (in fact advanced by the insurance defendants using Judge
Kopf's court as the RICO enterprise.). The matter before Judge Kopf's court in interlocutory in
nature and can extend up for 5 years until the limitations period passes on the mail and wire
fraud crimes alleged in that action, unless HOLLIE pursues a Writ of mandamus


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demanding that the action proceed, and which such petition would appear to violate the
separation of powers doctrine;          hence the reason HOLLI has not pursued such action.
Nevertheless, nothing can be drawn from Judge Kopf's court because that case is in limbo
until the US prosecutor distributes either a competent probable cause affidavit evidencing
sufficient proof for the charges and which are material to that litigation, or issues a written
statement finding a lack of probable cause.


           7.      SUMMATION
          Accordingly, CENTURYLINK has not produced one competent and valid pre-filing
injunction entered by a court of another jurisdiction, and that would justify this court entering
a bad faith and BROAD injunction in this action as proscribed by the First Amendment. As
the 9th Circuit has previously decisioned:
         Profligate use of pre-filing orders infringe the important petitioning
         right of the First Amendment, Molski v. Evergreen Dynasty Corp., 500
         F.3d 1047, 1057 (9th Cir. 2007) (per curiam), as the pre-clearance
         requirement imposes a substantial burden on the free-access
         guarantee. Out of regard for the constitutional underpinnings of the right to
         court access, “pre-filing orders should rarely be filed.”
          In addition, the pre-clearance filing requirements have clearly been abused by all of
the courts cited by CENTURYLINK – as a corrupt means to deny TELFORD access to the
courts to litigate legitimate claims.
         Specifically and as shown supra, Judges JOHNSON and SKAVDAHL have engaged
in file tampering by grafting TELFORD's Pro Se Petitions To Proceed from their various trial
records, so as to justify their entitlements to deny TELFORD access to the federal courts to
proceed on justiciable claims. These same judges have also falsely accused HOLLIE of alias
nominations in order to prevent other third persons from proceeding before their courts under
the First Amendment.
         Furthermore, the broad nature of the pre-filing injunctions has encouraged any third
person to arbitrarily violate TELFORD's rights over the past 20 years because of the implied
promise in the filing injunctions that judges will block HOLLIE's claims however meritorious
through capricious manuevering of the facts and the law to decline access. As is clearly
apparent from the record above, financially conflicted judges have been more than willing to
author decisions that are bottomed on false fact finding in order to manipulate the law and


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repeatedly accuse HOLLIE of abuse of the court's processes, and which are in fact, criminal
charges required to be found by a jury; not a judge in dictator fashion.
        Additionally, the ultimate purpose of the filing injunction is to prevent re-litigation of
matter previously fairly and fully decided on its merits; not to be used as a tool for wealthy or
politically powerful litigants to avoid liability for their unlawful conduct. “The decision to enter
a pre-filing order is only workable where the parties were permitted to brief and argue the
merits of their claims and the facts and issues were decided fairly and with prejudice
in” previous lawsuits.” Wood, 705 F.2d at 1526; see Safir, 792 F.2d at 25; Cook, 775 F.2d
at 1033. Where the record fails to show that the present claims were not subjected to a
substantive analysis,    a prefiling order is not permitted,        Ringgold v. County of Los
Angeles et al, 11-57231 (9 th Cir. 2014), as it is not unlawful to prosecute a meritorious
action and upon the objections of the parties, subject perceived legitimate claims to the
full and fair hearing process, no matter how litigious the plaintiff may be.” See Bill
Johnson’s Restaurants, Inc. v. NLRB, 461 U.S. 731, 743 (1983) citing In re Oliver, 682 F.2d
443, 446 (3rd Cir. 1982).     Moreover, harrassment of a party can only be found where the
claims advanced were without an arguable factual or legal basis. Scott V. Eighth Judicial
Dist. Court of Nevada, No. 68393 (Nev. Dec. 18, 2015). If that litigant presents rulings by
other courts deciding like controversies in favor of that litigant, than that litigant cannot be
found to have presented a baseless factual or legal claim.
             “[The loss of   First Amendment freedoms, for even minimal periods of time,
unquestionably constitutes irreparable injury.” KH OUTDOOR, LLC v. TRUSSVILLE, CITY
OF, 458 F.3d 1261; 2006 U.S. App. LEXIS 19901; 19 Fla. L. Weekly Fed. C 902 (11th Cir.
2006)(citing Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 2690 (1976) (plurality
opinion)).   A broad filing injunction unduly chills free access to the courts in violation of the
First Amendment. Wood, 705 F.2d at 1525.           In Blaylock v. Tinner, 13-3151 (10th Cir.
11/04/2013), the 10th circuit reaffirmed that an “injunction must be carefully tailored and
may not be so burdensome as to deny the litigant meaningful access to the courts.);
See also Sieverding v. Colo. Bar Ass'n, 469 F.3d 1340, 1343 (10 th Cir. 2006) (the district court
entered a prefiling order against Ms. Sieverding, barring her access on any claim, against any
party and in any court in Colorado. The 10 th circuit modified the trial court's ruling to prohibit
the Sieverdings from commencing any pro se litigation in the federal district court under the
Tenth Circuit's jurisdiction against the parties involved in trial case 02-cv-1950.)


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         “A First Amendment attack on a rule may be reached in any forum where the
offending rule is sought to have an impact on the proceedings.” Rosenberger v. Univ. of 5
Virginia, 515 U.S. 819, 829 (1995) (citing Perry Educ. Ass’n v. Perry Local Educators’ Ass’n,
460 U.S. 37, 46 (1983). Accordingly, HOLLIE may attack CENTURYLINK's and other parties
joining CENTURYLINK's abusive petition for a pre-filing injunction herein, efforts to seek
another broad filing injunction in this action, as unlawfully based.
          All courts have a duty to comply with the mandates of the equity rules promulgated
by the US Supreme Court as concluded in Los Angeles Brush Mfg. Corp. v. James, 272 U.S.
701 (1927):
        We think it clear that, where the subject concerns the enforcement of the
        equity rules, which by law it is the duty of this Court to formulate and put in
        force, . . we may use the power of mandamus and deal directly with the
        district court in requiring it to conform to them. Ex parte Abdu,247 U. S. 27,
        247 U. S. 28; Ex parte Crane, 5 Pet.190, 30 U. S. 192-194.

          The United States Supreme Court held in Baker v. Gen Motors Corp, 522 U.S.
222, 234-36, n 9; 118 S Ct 657; 139 L.Ed.2d 580 (1998) :
            If the sister state injunction or order was not constitutionally obtained,
       full faith and credit cannot be accorded that judgment in the forum where
       that judgment comes at issue. 50 C.J.S. Judgments § 889 h. (1947). “Full
       faith and credit extends to foreign equity decrees.” Restatement (Second) of
       Conflicts of Laws § 102 comment d (1971).
See too Emery v. Emery, 404 P.2d 745 (Wyo. 1965) (A Court will not permit a void
judgment to encumber a record and will vacate the ineffectual entry thereof on
application at any time. 49 C.J.S. Judgments § 267, pp. 480-481 citing Williamson v
Berry, 8 How. 495, 540, 12 L.Ed. 1170, 1189 (1850); Rose v Himely, 4 Cranch 241, 269, 2
L.Ed. 608, 617 (1808).
         Furthermore, "[T]here is no time limit for an attack on a judgment as void." Briley v.
Hidalgo, 981 F.2d 246, 249 (5th Cir.1993) (quoting 11 CHARLES ALAN WRIGHT, ARTHUR R.
MILLER AND MARY KAY KANE, FEDERAL PRACTICE AND PROCEDURE § 2862 (1973)).
          Finally, a court has no discretion to avoid vacating a void judgment.           See
Stutsman County v. Wallace, 12 S. Ct. 227, 142 U.S. 293 (U.S. 01/04/1892) (no discretion not
to vacate a void judgment.). Accord in Andrews v. Dept. of Veteran Affairs, 39 P.3d 1022
(Wyo. 2002) (Citing Hume v. Ricketts, 69 Wyo. 222, 240 P.2d 881, 883 (1952). As found in
Dahlke, 319 P.3d 116, 127 (Wyo. 2014) (Usurpation of power is defined in Black's law


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dictionary as “the assumption of government or supreme power by force or illegally, in
derogation of the constitution and of the rights accorded by law.”);              Gschwind, 232
F.3d at 1346 (10th Cir.) (“There is a plain usurpation of power,        when a court wrongfully
extends its jurisdiction beyond the scope of its authority prescribed by statute ."); Kansas City
Southern, Ry. Co. v. Great Lakes Carbon Corp., 624 F.2d 822, 825 (8th Cir. 1980) (citations
omitted); accord Nemaizer v. Baker, 793 F.2d 58, 65 (2d Cir. 1986) (observing that when a
court enters a judgment not authorized by law, there is "a clear usurpation of power by a
district court citing Lubben, 453 F.2d at 649 and J. Moore & J. Lucas,supra, p 60.25 @ 227.
When a district court has taken action which a party claims was beyond its jurisdiction as
prescribed by statute, a reviewing Court has the duty to set matters right. . . and the failure to
vacate a void judgment is an abdication of it's judicial duties. 28 U.S.C. § 1651; Will v. United
States, 389 U.S. 90, 95-96, 98 n. 6, 19 L. Ed. 2d 305, 88 S. Ct. 269 (1967);


          8.     CENTURYLINK Has Not Met Any Grounds For Entering An
                 Injunction Against Lundahl aka Telford Under S Wesley

                CENTURYLINK cites the following authority as the justification for entering yet
another VOID and broad pre-filing injunction against TELFORD aka LUNDAHL:
     The district court considers the following factors in determining whether a filing
     injunction is appropriate: “(1) the party’s history of litigation, particularly whether
     he has tried vexatious, harassing, or duplicative lawsuits; (2) whether the party
     had an objectively good faith basis for pursuing the litigation; (3) whether
     the party has caused needless expense to other parties or has posed an
     unnecessary burden on the courts; and (4) whether other sanctions would
     adequately protect the court and other parties.” Westley, 2015 WL 2242161 at *
     10 (citing Cromer, 390 F.3d at 818; Safir v. U.S. Lines, Inc., 792 F.2d 19, 24 (2d
     Cir.1986)).
          However, CENTURYLINK has not met any of the predicate factors under WESLEY to
justify entry of a filing injunction; Specifically, TELFORD has not tried this action on its merits
in any prior court. Secondly, TELFORD has a good faith basis for pursing this action. Third,
TELfORD has not caused needless expense to to the opposing parties,                  because the
opposing parties have yet to be tasked with the responsibilities of defending against
TELFORD's claims on their merits. And Last but not least, no sanctions are authorized
against        TELFORD for acts by third parties beyond TELFORD's control that has clearly
frustrated the competent prosecution of TELFORD's claims.



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         For all of the foregoing reasons, CENTURYLINKS and the joining defendants motion
for a flling injunction against LUNDAHL aka TELFORD must be denied.


        9.    HOLLIE Cross Moves To Have Every Pre-filing lnjunction Entered
              Against Her Declared As Void Ab lnitio, Vacated and Set Aide
           Accordingly by this response, HOLLIE also cross moves          for orders   decreeing all
prior pre-filing injunctions entered against HOLLIE, VOID AB lNTlO, vacating those void
judgments, and setting those judgments aside, adopting the argument set forth at pages 34-
36 supra in support thereof.


                                       VERIFICATION
             l,   HOLLIE TELFORD, declare that the                       and             xhibits are
true and correct under penalty of perjury under the                     nited                tto28
 USC section 1746(2), executed this 27th day of April



                                                           ollie   Tr




 Respectfully Submitted By:

 Dale:412712017

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                                  GERTIFICATE OF SERVICE
        The above signed certify that they served, a true and correct copy of the foregoing
 document upon all parties by placing the same in the ECF service utilized by the South
 Dakota Courts and by all parties to this proceeding.




                                                      38
